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                       UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF PENNSYLVANIA

TOM BURKE FARMS, individually and             Case No.
on behalf of all others similarly situated,
                                              CLASS ACTION COMPLAINT
                     Plaintiff,
                                              JURY TRIAL DEMAND
v.

BAYER CROPSCIENCE LP, BAYER
CROPSCIENCE, INC., CORTEVA,
INC., CARGILL INCORPORATED,
BASF CORPORATION, SYNGENTA
CORPORATION, WINFIELD
SOLUTIONS, LLC, UNIVAR
SOLUTIONS, INC., FEDERATED CO-
OPERATIVES LTD., CHS INC.,
NUTRIEN AG SOLUTIONS INC.,
GROWMARK INC., GROWMARK FS,
LLC, SIMPLOT AB RETAIL SUB, INC.,
AND TENKOZ, INC.,

                     Defendants.

                                    INTRODUCTION

       1.     Plaintiff, on behalf of itself individually and on behalf of all others

similarly situated (the “Classes” as defined below), upon personal knowledge as to the

facts pertaining to itself and upon information and belief as to all other matters, and based

on the investigation of counsel, brings this class action complaint to recover injunctive

relief, treble damages, and other relief as appropriate, based on Defendants Bayer

CropScience, LP, Bayer CropScience, Inc., Corteva, Inc., Cargill Incorporated, BASF

Corporation, Syngenta Corporation, Winfield Solutions, LLC, Univar Solutions, Inc.,

Federated Co-Operatives Ltd., CHS Inc., Nutrien Ag Solutions Inc., Growmark Inc.,


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Growmark FS, LLC, Simplot AB Retail Sub, Inc., and Tenkoz, Inc. (collectively,

“Defendants”) violation of federal and state antitrust laws, unfair competition laws,

consumer protection laws, and unjust enrichment laws of the several States.

      2.     Plaintiff seeks to represent classes consisting of persons and entities who

purchased Crop Inputs, for their own use and not for resale, in the United States from at

least as early as January 1, 2014 through the present (the “Class Period”) from the

Defendants, or through Defendants’ authorized retailers.

                                NATURE OF ACTION

      3.     This action arises from an unlawful agreement between Defendants to

artificially increase and fix the prices of seeds and crop protection chemicals such as

fungicides, herbicides, and insecticides (“Crop Inputs”) used by farmers. Defendants are

manufacturers, wholesalers, and retailers of Crop Inputs.

      4.     Defendants Bayer CropScience, Inc., Corteva, Inc., Syngenta Corporation,

and BASF Corporation (the “Manufacturer Defendants”), together with Defendants

Cargill Incorporated, Winfield Solutions, LLC, Univar Solutions, Inc. (the “Wholesaler

Defendants”), and Defendants CHS Inc., Nutrien Ag Solutions Inc., Growmark Inc.,

Simplot AB Retail Sub, Inc., Tenkoz Inc., and Federated Co-Operatives Ltd. (the

“Retailer Defendants”), have established a secretive distribution process that keeps Crop

Inputs prices inflated at supracompetitive levels and, in furtherance of their conspiracy,

denies farmers access to relevant market information, including transparent pricing terms

that would allow comparison shopping and better-informed purchasing decisions and

information about seed relabeling practices that would enable farmers to know if they are


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buying newly developed seeds or identical seeds repackaged under a new brand name

and sold for a higher price.

       5.     The cost of Crop Inputs is increasing at a significantly faster rate than

profits from farmers’ crop yields. The skyrocketing Crop Inputs prices are causing

farmers to take on operating debt and often forcing them into bankruptcy, creating a crisis

situation in the agriculture community for American farmers who are critical to the

nation’s food supply. Neither the cost increases nor the price disparities are attributable to

any independent legitimate cause, such as weather or other factors.

       6.     Beginning at least as early as 2014, new online Crop Inputs sales platforms

launched and offered pricing comparison tools to allow farmers to view what other

farmers were paying for the same Crop Inputs, increasing price transparency. These

online sales platforms, including Farmers Business Network (“FBN”) and AgVend Inc.,

became successful with farmers.

       7.     Viewing this success, Defendants conspired and coordinated to boycott

these online Crop Inputs sales platforms because of the threat they posed to Defendants’

market position and price control. For example, the Manufacturer Defendants and

Wholesaler Defendants agreed amongst themselves not to sell Crop Inputs to FBN, and

enforced strict discipline on Retailer Defendants who failed to comply with the boycott.

Defendants Syngenta, Bayer, BASF, and Corteva used audits and inspections of their

authorized retailers to ensure that online Crop Inputs sales platforms were unable to

obtain Crop Inputs from their authorized retailers.




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      8.     Defendants’ boycott succeeded. As a result of Defendants’ anticompetitive

conduct, online Crop Inputs sales platforms, such as FBN and AgVend, were unable to

purchase Defendants’ Crop Inputs in order to sell them on their platforms. Because

Defendants are the dominant manufactures and sellers of Crop Inputs, this was a

devastating blow to these sales platforms and directly harmed farmers in taking away a

lower cost option for purchasing these Crop Inputs.

      9.     As a direct and proximate result of Defendants’ anticompetitive conduct,

Defendants’ have maintained supracompetitive prices for Crop Inputs by denying farmers

access to accurate pricing information and have injured farmers by forcing farmers to

accept opaque price increases that drastically outweigh any increase in crop yields or

market prices.

      10.    Defendants’    anticompetitive       conduct   is   the   subject   of   ongoing

investigations by the Canadian Competition Bureau (“CCB”) and the United States

Federal Trade Commission (“FTC”).

      11.    A Canadian federal court has found that there is sufficient evidence to

require Defendants to also produce records concerning their coordinated anticompetitive

conduct in the United States.

      12.    The Federal Trade Commission (“FTC”) is likewise investigating

anticompetitive conduct in the Crop Inputs market. At least one defendant, Corteva, has

received a subpoena from the FTC directing it to submit documents related to Crop

Inputs “in order to determine whether Corteva engaged in unfair methods of competition

through anticompetitive conduct.”


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                            JURISDICTION AND VENUE

       13.    Plaintiff brings this action on behalf of the Classes under Section 16 of the

Clayton Act (15 U.S.C. § 26) to secure injunctive relief against Defendants for violating

Section 1 of the Sherman Act (15 U.S.C. § 1), and to recover actual and compensatory

damages, treble damages, interest, costs, and attorneys’ fees for the injury caused by

Defendants’ conduct. Plaintiff also asserts state law claims on behalf of the Classes to

recover actual and/or compensatory damages, double and treble damages as permitted,

pre- and post-judgment interest, costs, and attorneys’ fees for the injury caused by

Defendants’ conduct.

       14.    This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1337,

and Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26. This Court also has

jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §§ 1332(d) and

1367, in that: (i) this is a class action in which the matter or controversy exceeds the sum

of $5,000,000, exclusive of interest and costs, and in which some members of the

proposed Classes are citizens of a state different from some Defendants; and (ii)

Plaintiff’s state law claims form part of the same case or controversy as their federal

claims under Article III of the United States Constitution.

       15.    Venue is proper in this Court pursuant to Sections 4, 12, and 16 of the

Clayton Act, 15 U.S.C. § 15(a), and 28 U.S.C. § 1391(b), (c) and (d), because one or

more Defendants resided or transacted business in this District, is licensed to do business

or is doing business in this District, and because a substantial portion of the affected

interstate commerce described herein was carried out in this District.


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       16.    This Court has personal jurisdiction over all Defendants because, inter alia,

they: (a) transacted business throughout the United States, including in this District; (b)

manufactured, shipped, sold, and/or delivered substantial quantities of Crop Inputs

throughout the United States, including this District; (c) had substantial contacts with the

United States, including this District; and/or engaged (d) in an antitrust conspiracy that

was directed at and had a direct, foreseeable, and intended effect of causing injury to the

business or property of persons residing in, located in, or doing business throughout the

United States, including this District.

       17.    The activities of Defendants and all co-conspirators, as described herein,

were within the flow of, were intended to, and did have direct, substantial, and reasonably

foreseeable effects on the foreign and interstate commerce of the United States.

                                 TRADE AND COMMERCE

       18.    This action involves the markets for Crop Inputs in the United States,

including the manufacture of Crop Inputs, the wholesale market for Crop Inputs, and the

retail market for Crop Inputs.

       19.    During the Class Period, Defendants sold Crop Inputs in the United States

in a continuous and uninterrupted flow of interstate commerce and foreign commerce,

including through and into this judicial District.

       20.    During the Class Period, Defendants collectively controlled a dominant

share of the market for Crop Inputs in the United States.

       21.    Defendants’ business activities substantially affected interstate trade and

commerce in the United States and caused injury in the United States.


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                                       PARTIES

Plaintiff

       22.   Plaintiff Tom Burke Farms was a resident at all relevant times of

Pennsylvania. During the Class Period and while residing in Pennsylvania, Plaintiff

purchased Crop Inputs, for his own use and not for resale, that were manufactured or sold

by one or more Defendants. Plaintiff Tom Burke Farms suffered injury as a result of

Defendants’ conduct alleged herein.

Manufacturer Defendants

       23.   Bayer AG is a multinational pharmaceutical, chemical, and agriculture

company. It organizes itself into four divisions, each with its own management and

corporate organization. Legal entities within each division work together, follow a

common strategy, and report up to the same level of management.

       24.   Defendant Bayer CropScience Inc. is a wholly-owned subsidiary of Bayer

AG headquartered in St. Louis, Missouri and incorporated in New York that develops,

manufactures, and sells Crop Inputs in the United States.

       25.   Defendant Bayer CropScience LP is a wholly-owned subsidiary of Bayer

AG headquartered in Research Triangle Park, North Carolina, and is a crop science

company that sells Crop Inputs in the United States.

       26.   Bayer CropScience Inc. and Bayer CropScience LP both operate as part of

the Bayer Group’s Crop Science division.




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          27.   Defendant Corteva Inc. is a domestic corporation headquartered in

Wilmington, Delaware, that develops, manufactures, and sells Crop Inputs in the United

States.

          28.   Defendant BASF Corporation is headquartered in Florham Park, New

Jersey, and is the principal U.S.-based operating entity and largest subsidiary of BASF

SE, a multinational pharmaceutical, seed, and chemical company. BASF develops,

manufactures, and sells Crop Inputs in the United States.

          29.   Defendant Syngenta Corporation is the main U.S.-based operating

subsidiary of Syngenta AG, and is headquartered in Wilmington, Delaware. Syngenta

develops, manufactures, and sells Crop Inputs in the United States.

Wholesaler Defendants

          30.   Defendant Cargill, Inc. is a domestic corporation headquartered in

Minnetonka, Minnesota. Cargill owns and operates a wholesaler AgResource Division,

which distributes Crop Inputs to Cargill’s retail network and to retailers. Cargill’s

AgResource Division maintains contracts with each of Bayer, Corteva, BASF, and

Syngenta entitling it to purchase and distribute branded Crop Inputs and entitling it to

special rebates.

          31.   Defendant Winfield Solutions, LLC (“Winfield United”) is a domestic

corporation headquartered in Arden Hills, Minnesota and incorporated in Delaware.

Winfield United is a Crop Input wholesaler. It maintains contracts with each of Bayer,

Corteva, BASF, and Syngenta authorizing it to purchase and distribute branded Crop

Inputs and entitling it to special rebates. Winfield United is also a major Crop Input


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retailer that operates as a cooperative owned by its members, which are 650 Crop Input

retail businesses operating 2,800 retail locations throughout the United States and parts of

Canada.

       32.    Defendant Univar Solutions, Inc. is a Crop Input wholesaler. Univar

maintains contracts with each of Bayer, Corteva, BASF, and Syngenta authorizing it to

purchase and distribute branded Crop Inputs and entitling it to special rebates. Univar

Solutions, Inc. is a domestic corporation headquartered in Illinois and incorporated in

Delaware.

Retailer Defendants

       33.    Defendant CHS Inc. is one of the largest crop input wholesalers in the

United States. Like many large wholesalers, it also operates retail networks bearing the

CHS brand around the country that sell Crop Inputs from brick and mortar stores. CHS

Inc. is incorporated and headquartered in the state of Minnesota.

       34.    CHS and the retail networks it operates maintain contracts with each of

Bayer, Corteva, BASF, and Syngenta authorizing it to purchase and distribute Crop

Inputs and entitling it to special rebates.

       35.    Defendant Nutrien Ag Solutions, Inc. is both a Crop Input wholesaler and

the largest Crop Input retailer in the United States. It sells Crop Inputs to farmers

throughout the country and maintains contracts with Bayer, Corteva, BASF, and

Syngenta, each authorizing it to purchase and distribute Crop Inputs and entitling it to

special rebates. Nutrien Ag Solutions, Inc. is incorporated in Delaware and has its

principal place of business in Colorado.


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       36.    Defendant GROWMARK, Inc. d/b/a Farm Supply or FS, is a large Crop

Input retailer headquartered in Illinois, with brick and mortar locations throughout the

Midwestern United States. Growmark is incorporated in Delaware. Growmark maintains

contracts with Bayer, Corteva, BASF, and Syngenta, each authorizing it to purchase and

distribute Crop Inputs, and entitling it to special rebates.

       37.    Defendant Tenkoz Inc. is one of the largest Crop Input retailers in the

United States. Tenkoz purchases and sells 25% of all crop protection chemicals sold in

the United States annually through 550 retail locations and 70 wholesale locations around

the country. Tenkoz is incorporated and headquartered in Georgia. Tenkoz maintains

contracts with Bayer, Corteva, BASF, and Syngenta, each authorizing it to purchase and

distribute Crop Inputs and entitling it to special rebates.

       38.    Defendant Simplot AB Retail Sub, Inc. f/k/a Pinnacle Agriculture

Distribution, Inc. is a large Crop Input wholesaler and retailer that operates 135 retail

locations across 27 states. Simplot is headquartered and incorporated in Mississippi.

Simplot maintains contracts with Bayer, Corteva, BASF, and Syngenta, each authorizing

it to purchase and distribute Crop Inputs and entitling it to special rebates.

       39.    Defendant Federated Co-operatives Ltd. is a large Crop Input retailer. It

maintains contracts with Bayer, Corteva, BASF, and Syngenta, each authorizing it to

purchase and distribute Crop Inputs and entitling it to special rebates. Federated is under

investigation by the Canadian Competition Bureau for engaging in coordinated

anticompetitive practices designed to exclude competition in the Crop Input market.




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                             FACTUAL ALLEGATIONS

       40.    Farmers in the United States are experiencing drastically increasing

operating expenses while revenue and profits from their crop yields remain stagnant. For

example, between 1995 and 2011, the cost of growing soybeans and corn tripled while

yields for those same crops rose by only 18.9% and 29.7% respectively.

       41.    This trend has continued in recent years. One study found that seed,

fertilizer, and pesticide costs comprised 32% of crop revenue between 1990 and 2006,

36% of revenue between 2006 and 2015, but 48% of crop revenue in 2015.1

       42.    The rate of cost increases is not attributable to any legitimate cause, as

research and development expenditures have decreased over the past several years.

Instead, the increases are a result of unjustifiably inflated, supracompetitive prices as a

result of Defendants’ anticompetitive conduct, including Defendants’ group boycott of

online sales platforms such as FBN and AgVend.

       43.    The market for Crop Inputs is structured to be secretive and opaque, in

order to obscure pricing data and product information that farmers need to make

informed purchasing decisions about Crop Inputs. Because farmers lack the objective

information and data needed to evaluate their purchases, farmers are forced to pay higher

prices for Crop Inputs than they would in a competitive market. On top of this, farmers


1
 Schnitkey, G. and S. Sellars. “Growth Rates of Fertilizer, Pesticide, and Seed Costs over
Time.” farmdoc daily (6):130, Department of Agricultural and Consumer Economics,
University of Illinois at Urbana-Champaign, July 12, 2016,
https://farmdocdaily.illinois.edu/2016/07/growth-rates-of-fertilizer-pesticide-seed-
costs.html.


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are unable to buy Crop Inputs without paying for the unnecessary overhead of brick-and-

mortar retailers.

       44.     The Manufacturer Defendants, which develop and produce between 75% to

90% of the most popular name brand Crop Inputs, guard their product prices from

consumers. The Manufacturer Defendants allow their products to be sold only by

wholesalers, including the Wholesaler Defendants, retailers owned or operated by the

manufacturer, and licensed “authorized retailers,” such as the Retailer Defendants.

       45.     The contracts granting “authorized retailer” licenses contain strict

confidentiality provisions that prohibit authorized retailers from disclosing the

manufacturers’ prices or any incentives, rebates, or commissions offered by the

manufacturers to the authorized retailers.

       46.     Manufacturers also engage in “seed relabeling,” which is the taking of

seeds that have long been on the market already and repackaging the exact same seeds

under a new brand name so that they can be sold at a higher price. This practice takes

further advantage of farmers’ lack of access to objective performance data, and can cause

farmers to overpay for seeds that could have been purchased for less from a different

brand and/or to have less genetic diversity in seeds across their farms than they

anticipated.

       47.     At the retail level, pricing is likewise opaque and obscured. Wholesalers’

contracts with authorized retailers contain strict confidentiality provisions, prohibiting

retailers from disclosing the price paid to the wholesaler for Crop Inputs or the price at

which retailers sell those exact same Crop Inputs to other farmers. In addition, retailers


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sell Crop Inputs bundled together with related services, such as spraying or applying

chemicals, to make it more difficult for farmers to ascertain the cost of any individual

Crop Input or bundled service.

       48.    Online Crop Input sales platforms began launching in 2014, with the goal

of modernizing the market, increasing price transparency, and providing farmers access

to Crop Inputs directly from the Manufacturer Defendants. These online marketplaces

sought to avoid the opaque and inefficient distribution system consisting of Wholesaler

and Retailer Defendants.

       49.    Initially, online Crop Input sales platforms were successful. For example,

more than 12,000 farmers signed up for FBN’s service that provided objective

performance data on Crop Inputs, and 6,000 farmers signed up for FBN’s electronic sales

platform.

       50.    Wholesaler and Retailer Defendants recognized the threat posed by these

online sales platforms to their market position and profit margins. A report published by

CoBank, a cooperative partly owned by Crop Input retailers and a major lender to grain

cooperatives, explained that price transparency would enable farmers to negotiate with

Crop Input retailers and decrease their profit margins:

       Despite relatively low sales, e-commerce companies pose a threat to brick-
       and-mortar ag retailers in two ways. First, any new competitor will erode
       sales and margins to some degree and second, e-commerce sites increase
       transparency for product prices.

       These e-commerce sites provide farmers with several sources of product
       price information that are just clicks away. Farmers can then leverage that
       information in negotiations with local brick-and-mortar retailers.
       Traditional ag retailers that bundle products and services together under the


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      product price are losing some customers to e-commerce sites that provide
      only the product. The e-commerce channel allows cost-sensitive farmers to
      eliminate service costs like custom application and product warranties.2

      51.    Defendant CHS, upon learning of FBN’s online buying platform launch in

2016, sent a letter to farmers dissuading them from using FBN by falsely claiming that

although FBN would be able to offer the same products at lower costs, “FBN just does it

with little overhead and without returning any profits to you the farmer, while lining the

pockets of investors and big data companies like Google.”

      52.    CropLife America is a trade association made up of major Crop Input

manufacturers, wholesalers, and retailers, and serves as an ideal vehicle for collusion.

CropLife America’s board of directors is chaired by an executive from one of the

Manufacturer Defendants, currently Paul Rea from BASF and previously Suzanne

Wasson from Corteva. For the 2016-19 term, CropLife America’s board of directors

included executives from Defendants Bayer, CHS, Growmark, Tenkoz, and Simplot.

There is not a single representative for farmers or farmer groups on CropLife America’s

board of directors, despite CropLife America’s mission to “help ensure growers and

consumers have the technologies they need to protect crops, communities, and

ecosystems from the threat of pests, weeds, and diseases in an environmentally

sustainable way.”

      53.    CropLife America publishes the trade publication CropLife Magazine,

which reiterated the concerns expressed by CoBank about the threat posed by online

2
 https://www.cobank.com/corporate/news/ag-retailers-look-to-retool-strategy-for-
success.


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Crop Input sales platforms to Crop Inputs retailers’ business. CropLife stated it was

“concerned that the retailer could be disintermediated—i.e., that electronic platforms

would ‘cut out the middle man’—allowing growers to find product conveniently and at a

lower market price,” and decried the “devil known as ‘price transparency,’” stating that

“[g]rowers were not really as interested in buying and selling and storing product as they

were in printing price lists off the Internet and waving them in their retailer’s faces.

Already low margins were about to race to the bottom.”

      54.    CropLife’s PACE Advisory Council—a committee composed of the “heads

of major ag retailers, market suppliers, equipment makers, and other agricultural

analysts”—clearly identified the threat posed by online sales platforms to retailers and

wholesalers at its 2017 annual meeting. CropLife’s coverage of the event reported that

“three letters . . . continually cropped up no matter what the topic of conversation

happened to be – FBN (Farmers Business Network). To say that all things related to FBN

and its business practices dominated much of the day-long event would be a gross

understatement. Several members of the PACE Council described how FBN had

negatively affected their business during 2017 by cutting into their already slim margins

on various products.”

      55.    The Retailer Defendants and the Wholesaler Defendants knew that

retaining their market positions and profit margins depended on excluding online sales

platforms from the market, so they conspired to eliminate the platforms’ product supply.

To do so, the Retailer and Wholesaler Defendants pressured the Manufacturer




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Defendants—which rely on the Wholesaler and Retailer Defendants to recommend and

sell their products to farmers—to cut off FBN’s supply of Crop Inputs.

       56.    In 2016, Defendant Bayer formed an internal task force to study the long-

term competitive impact of FBN’s online platform.

       57.    The Manufacturer Defendants complied with the demands of the

Wholesaler and Retailer Defendants to cut off FBN’s supply, and Defendants initiated a

group boycott of online sales platforms, including FBN. When FBN attempted to

purchase Crop Inputs from the Manufacturer and Wholesaler Defendants, they all refused

and offered pretextual excuses for their refusal.

       58.    For example, when Syngenta’s Head of Crop Protection Sales in the United

States learned that a small number of branded Crop Inputs had been sold on online

platforms in violation of Defendants’ boycott, he falsely claimed that online platforms

would deliver counterfeit products and that, “[w]hen online entities acquire products from

sources other than authorized dealers or contracted distributors, you’d better question and

be concerned about the quality.”

       59.    To ensure the success of Defendants’ boycott, Defendants imposed strict

penalties on retailers that failed to comply. For example, Syngenta initiated an audit of its

authorized retailers after learning that some retailers had sold Crop Inputs product to

FBN despite the boycott in order to identify and punish the retailers that made those sales

to FBN.

       60.    Defendants Bayer, BASF, and Corteva utilize mandatory language in their

form contracts with authorized retailers that permit audits of authorized retailers’ books


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and records and on-site inspections at any time. Defendants Bayer, BASF, and Corteva

used these contractual provisions to ensure that online sales platforms could not purchase

branded Crop Inputs from an authorized retailer.

       61.    The impact of Defendants’ boycott extended past branded product to

generic products (i.e., Crop Inputs sold by non-Defendant manufacturers after the

Manufacturer Defendants’ patents expire). In a 2018 Forbes article, the CEO of a generic

chemical products company stated it was wary of supplying FBN because it could anger

existing sales channels, and that “[i]n an ideal world, if I could flip the switch and sell to

these guys, I would do it in a heartbeat.”3

       62.    FBN also purchased Yorkton, a Canada-based retailer with longstanding

supply agreements with Defendants Bayer, Syngenta, BASF, Corteva, and Winfield.

Those agreements would have provided FBN with inventory of Crop Inputs to sell to

farmers, if they had been honored. However, the Wholesaler and Retailer Defendants

threatened to retaliate against the Manufacturer Defendants if they maintained the

agreements. As a result, the Manufacturer Defendants agreed to boycott Yorkton and

abruptly canceled their longstanding supply contracts within a few months of FBN’s

March 2018 acquisition of Yorkton.

       63.    After FBN purchased Yorkton, in an email dated April 6, 2018, Defendant

Univar stated that it had informed FBN that Univar would cease to conduct business with

FBN after July 31, 2018, and stated: “FBN is a data company that wants to collect and

3
 https://www.forbes.com/sites/amyfeldman/2018/06/19/farming-ag-agriculture-farmers-
business-network/?sh=246579466312.


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aggregate data to eventually sell for a profit to companies that will use the data to make

farmers grow us food for nothing. . . . If anyone thinks socialism is going to feed the

world just call Russia first and see how that worked out.” The Univar email also

criticized FBN’s model of transparency, stating that “[m]argin compression is not the

way to a brighter future and that is all FBN is currently offering.”

       64.    FBN co-founder Charles Baron stated that the response by the Canadian

industry after its purchase of Yorkton was similar to the United States’ industry response

when FBN first launched in 2014, and that “[t]hese actions caused serious harm and

really blocked FBN from being able to provide and fulfill a lot of the basic services we

provide growers.”

       65.    The Defendants’ boycott of FBN was successful and caused FBN to begin

developing its own products that it can sell to farmers through its online marketplace.

       66.    Defendants’ boycott also applied to AgVend, and AgVend ultimately shut

down its online platform and now establishes web-based storefronts for traditional brick-

and-mortar retailers.

       67.    As a result of the Defendants’ coordinated boycott, farmers are and have

been deprived of the opportunity to purchase Crop Inputs at transparent, competitive

prices from online platforms. Instead, farmers are forced to continue paying artificially

inflated prices for Crop Inputs purchased from local retailers subject to Defendants’

confidentiality requirements and seed relabeling practices.

       68.    The Canadian Competition Bureau (“CCB”) is formally investigating

Defendants for collusion under Section 10 of the Competition Act Canada (R.S.C., 1985,


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c. C-34). The CCB inquiry is focused on the conduct of Federated Co-operatives Limited,

Cargill Limited, Winfield United Canada ULC, Univar Canada Ltd., BASF Canada Inc.,

Corteva Inc. and/or its affiliates, and Bayer CropScience Inc. and its wholly-owned

subsidiary Monsanto Canada ULC in the seed and crop protection markets, and whether

those entities engaged in practices reviewable under Part VIII of the Competition Act

Canada.

       69.    On February 11, 2020, a Canadian federal court granted in full ex parte

applications made by Canada’s Commissioner of Competition for the production of

records against Cargill Limited, Winfield United Canada ULC, Univar Canada Limited,

BASF Canada Inc., Bayer CropScience Inc. and its wholly-owned subsidiaries Monsanto

Canada ULC and Production Agriscience Canada Company, Pioneer Hi-Bred Canada

Company and Dow Agrisciences Canada Inc. relating to those practices. Over

Defendants’ objection, the Canadian federal court found sufficient evidence to require

Defendants to produce records concerning their coordinated anticompetitive conduct in

the United States as well.

       70.    The United States Federal Trade Commission (“FTC”) is also investigating

potential anticompetitive conduct in the Crop Inputs market. At least one defendant,

Corteva, has received a subpoena from the FTC. On May 26, 2020, the FTC issued a

subpoena to Corteva, directing it to submit documents pertaining to potential

anticompetitive conduct with respect to Crop Inputs. Corteva confirmed in a 10-Q filing

that the FTC’s subpoena required it “to submit documents pertaining to its crop

protection products generally, as well as business plans, rebate programs, offers, pricing


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and marketing materials specifically related to its acetochlor, oxamyl and rimsulfuron and

other related products in order to determine whether Corteva engaged in unfair methods

of competition through anticompetitive conduct.”

                                        ANTITRUST INJURY

          71.      Defendants’ anticompetitive conduct has had the following effects, among

others:

                a. Price competition has been restrained or eliminated with respect to Crop

                   Inputs;

                b. The prices of Crop Inputs have been fixed, raised, stabilized, or maintained

                   at artificially inflated levels;

                c. Purchasers of Crop Inputs have been deprived of free and open

                   competition; and

                d. Purchasers of Crop Inputs, including Plaintiff, paid artificially inflated

                   prices.

          72.      Throughout the Class Period, Plaintiff and Class members purchased Crop

Inputs in the United States, for their own use and not for resale, that were manufactured

or sold by Defendants.

          73.      It is well recognized that in a multi-level chain of distribution, such as

exists here, an overcharge is felt throughout the chain of distribution. As noted antitrust

scholar Professor Herbert Hovenkamp stated in his treatise, Federal Antitrust Policy, The

Law of Competition and Its Practice (1994):

          A monopoly overcharge at the top of a distribution chain generally results


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       in higher prices at every level below. For example, if production of
       aluminum is monopolized or cartelized, fabricators of aluminum cookware
       will pay higher prices for aluminum. In most cases they will absorb part of
       these increased costs themselves and pass part along to cookware
       wholesalers. The wholesalers will charge higher prices to the retail stores,
       and the stores will do it once again to retail consumers. Every person at
       every stage in the chain likely will be poorer as a result of the monopoly
       price at the top.

       Theoretically, one can calculate the percentage of any overcharge that a
       firm at one distributional level will pass on to those at the next level.

       Similarly, Professor Jeffrey K. MacKie-Mason4 has stated, it is “well known in

economic theory and practice, (that) at least some of the overcharge will be passed on by

distributors to end consumers.”5

       74.    The purpose of the Defendants’ conspiratorial and unlawful conduct was to

fix, raise, stabilize, and/or maintain the price of Crop Inputs.

       75.    As a direct and proximate result of the alleged violations of antitrust laws,

Plaintiff and Class members have sustained injury to their business or property, having

paid higher prices for Crop Inputs than they would have paid in the absence of

Defendants’ illegal contract, combination, or conspiracy, and, as a result, have suffered

damages in an amount presently undetermined. This is an antitrust injury of the type that

the antitrust laws were intended to punish and prevent.

4
  Professor MacKie-Mason is a professor in the Department of Economics at the
University of California, Berkeley and the former Arthur W. Burks Professor of
Information and Computer Science and Professor of Economics and Public Policy at the
University of Michigan.
5
  Order re: Class Certification, at 13-14, Coordination Proceedings Special Title (Rule
1550(b)) Microsoft I-V Cases, J.C.C.P. No. 4106 (San Francisco Super. Ct. Aug. 29,
2000).


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                                 CLASS ALLEGATIONS

      76.      Plaintiff brings this action on behalf of itself, and as a class action under the

Federal Rules of Civil Procedure Rule 23(a) and (b) on behalf of the following Classes:

            a. All persons or entities residing in the United States that, during the Class

               Period, purchased from a Defendant a Crop Input manufactured by a

               Manufacturer Defendant;

            b. All persons or entities residing in the United States that, during the Class

               Period, purchased from a retailer other than a Retailer Defendant a Crop

               Input manufactured by a Manufacturer Defendant.

      77.      Specifically excluded from the Classes are the following:

            a. Purchasers of Crop Inputs solely for resale;

            b. Defendants;

            c. The officers, directors, or employees of any Defendant;

            d. Any entity in which any Defendant has a controlling interest; and any

               affiliate, legal representative, heir or assign of any Defendant;

            e. Any federal, state governmental entities, any judicial officer presiding over

               this action and the members of his/her immediate family and judicial staff;

            f. Any juror assigned to this action; and

            g. Any co-conspirator identified in this action.

      78.      Numerosity. Because such information is in the exclusive control of

Defendants, Plaintiff does not know the exact number of the Class members. Due to the

nature of the trade and commerce involved, Plaintiff believes there are thousands, if not


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tens of thousands, of members in the Classes and that they are sufficiently numerous and

geographically-dispersed throughout the United States so that joinder of all Class

members would be impracticable.

       79.      Class Identity. The above-defined Classes are readily identifiable and

ascertainable through existing records.

       80.      Typicality. Plaintiff’s claims are typical of other class members’ claims

because they were injured through Defendants’ uniform misconduct and paid

supracompetitive prices for Crop Inputs. Accordingly, by proving their own claims,

Plaintiff will necessarily prove the other class members’ claims.

       81.      Common Questions Exist and Predominate. Common legal and factual

questions exist as to all Class members. This is particularly true given the nature of

Defendants’ unlawful anticompetitive conduct, which was generally applicable to the

Classes as a whole. These questions include but are not limited to the following:

             a. Whether Defendants engaged in a combination or conspiracy amongst

                themselves to fix, raise, maintain, and/or stabilize the prices of Crop Inputs

                in the United States;

             b. The identity of additional participants in the alleged combinations and

                conspiracy, if any;

             c. The duration of the alleged combination or conspiracy and nature of the

                acts carried out by Defendants in furtherance of the combination or

                conspiracy;




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             d. Whether the alleged combination or conspiracy violated Section 1 of the

                Sherman Act;

             e. Whether the alleged combination or conspiracy had the effect of artificially

                inflating the price of Crop Inputs sold in the United States during the Class

                Period;

             f. Whether the alleged conspiracy violated state antitrust, unfair competition,

                and/or consumer protection laws;

             g. Whether the Defendants unjustly enriched themselves to the detriment of

                the Plaintiff and Class members, thereby entitling Plaintiff and Class

                members to disgorgement of all benefits derived by Defendants;

             h. Whether Defendants’ conduct caused injury to the Class members;

             i. Whether Defendants took actions to conceal their unlawful conspiracy;

             j. The appropriate injunctive and related equitable relief; and

             k. The appropriate measure and amount of damages to which Plaintiff and

                other Class members are entitled.

       82.      Adequacy. Plaintiff can and will fairly and adequately represent and

protect the class members’ interests and have no interests that conflict with or are

antagonistic to those of the classes. Moreover, Plaintiff’s attorneys are experienced and

competent in antitrust and class action litigation.

       83.      Superiority. Class action treatment is the superior procedural vehicle for

the fair and efficient adjudication of the claims asserted because: among other things,

such treatment will permit a large number of similarly situated persons to prosecute their


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common claims in a single forum simultaneously, efficiently and without the unnecessary

duplication of evidence, effort and expense that numerous individual actions would

engender. The benefits of proceeding through the class mechanism, including providing

injured persons or entities with a method for obtaining redress for claims that it might not

be practicable to pursue individually, substantially outweigh any difficulties that may

arise in management of this class action.

       84.    The prosecution of separate actions by individual Class members would

create the risk of inconsistent or varying adjudications, establishing incompatible

standards of conduct for Defendants.

       85.    Defendants have acted on grounds generally applicable to the Classes,

thereby making final injunctive relief appropriate with respect to the Classes as a whole.

  THE STATUTES OF LIMITATIONS DO NOT BAR PLAINTIFF’S CLAIMS

       86.    Any applicable statute of limitations for Plaintiff and the Classes has been

tolled and/or Defendants are equitably estopped from asserting a statute of limitations

defense by reason of Defendants’ concealment of the conspiracy.

       87.    Group boycotts and other antitrust violations are inherently self-concealing.

Throughout the Class Period, Defendants and their co-conspirators engaged in secret

conspiracies that did not reveal facts that would put Plaintiff or the Classes on inquiry

notice that there was a conspiracy to fix prices of Crop Inputs, and effectively and

affirmatively concealed their unlawful combination and conspiracy from Plaintiff and the

Classes.




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      88.    Plaintiff and Class members had neither actual nor constructive knowledge

of the facts constituting their claims for relief. Plaintiff and Class members did not

discover, nor could have discovered through the exercise of reasonable diligence, the

existence of the conspiracy alleged herein until shortly before filing this Complaint,

because of the deceptive practices and secrecy employed by Defendants and their co-

conspirators to conceal their combination.

      89.    As discussed above, the market for Crop Inputs is structured to maximize

opacity in order to deny farmers access to pricing data and product information that

farmers need to make informed decisions about Crop Inputs purchases. Defendants use

confidentiality provisions in their contracts to restrict disclosure of the prices of Crop

Inputs. Defendants also employ seed relabeling and bundling in order to further prevent

farmers, including Plaintiff and the Classes, from accessing pricing data and information

about the Crop Inputs market.

      90.    Plaintiff and the Classes did not have actual or constructive notice of the

conspiracy alleged herein until the Canadian Competition Bureau launched its inquiry

and issued subpoenas in February 2020, or until Defendant Corteva’s September 2020

disclosure that the FTC had subpoenaed Corteva for documents “in order to determine

whether Corteva engaged in unfair methods of competition through anticompetitive

conduct.”




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                                 CLAIMS FOR RELIEF

                          FIRST CLAIM FOR RELIEF
   Conspiracy to Restrain Trade in Violation of Section 1 of the Sherman Act, 15
                                    U.S.C. § 1

       91.    Plaintiff incorporates and realleges each and every allegation in the

preceding paragraphs, as though fully set forth herein.

       92.    Beginning in at least 2014, and continuing thereafter to the present,

Defendants, by and through their officers, directors, employees, agents, or other

representatives, have explicitly or implicitly colluded to (1) artificially raise, fix,

maintain, and/or stabilize prices in the Crop Inputs market, and (2) jointly boycott entities

that would have introduced price-reducing electronic sales of Crop Inputs in the United

States, in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       93.    Defendants’ actions were not mere parallel conduct but took place in the

context of multiple facts establishing a conspiratorial agreement.

       94.    First, the market for Crop Inputs is highly concentrated, as Defendants

BASF, Corteva, Syngenta, and Bayer AG dominate production in virtually every Crop

Input category, and control 85% of the corn seed market, over 75% of the soybean seed

market, and over 90% of the cotton seed market. The wholesale market is just as

concentrated, with seven wholesalers accounting for 70% of all sales volume.

       95.    Second, an effective boycott of online sales platforms would not have been

feasible without coordination and cooperation among Defendants. The boycott would

only work if every Manufacturer Defendant agreed to the plan, otherwise one

Manufacturer Defendant breaking with the boycott could have established itself as the


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primary supplier to online sales platforms and grown its customer base by operating a

new distribution channel for Crop Inputs, taking market share from its rival

manufacturers.

       96.    Third, Defendants had a strong motive to conspire to preserve the presently

opaque market structure. If online sales platforms succeeded in publicly publishing price

lists for Crop Inputs, then the Defendants could no longer keep prices confidential and

charge varying prices based on geography or through seed relabeling or bundling. The

Wholesaler and Retailer Defendants were therefore motivated to conspire amongst

themselves and exert pressure on the Manufacturer Defendants to protect their profits

without having to compete on the merits of price and services.

       97.    Fourth, Defendants formed and maintained their conspiracy using a high

degree of inter-firm communication both directly and through wholesalers and retailers,

such as through CropLife America’s annual board of directors meeting which specifically

discussed the threat posed by the entry of online sales platforms. Because no farmer

representatives are allowed to participate, these meetings provided a forum for collusion.

       98.    Fifth, Defendants’ actions were against their apparent economic self-

interest. Providing Crop Inputs to online sales platforms presented a significant business

opportunity because those platforms represented well-financed customers ready to

purchase Crop Inputs in bulk quantity from a Manufacturer or Wholesaler Defendant,

would simplify the distribution channel and permit Manufacturer Defendants to retain

greater profits by eliminating transport costs, rebates, and incentive programs to

wholesalers and retailers, and presented an opportunity for an individual Manufacturer


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Defendant to increase profits by growing its market share through sales to farmers

nationwide, not merely where its authorized retailers were located or enjoyed the largest

market share within a specific geographic area.

       99.    Sixth, Defendants are antitrust recidivists, which is probative of future

collusion. See, e.g., In re Nat. Gas Commodity Litig., 337 F. Supp. 2d 498, 500-01

(S.D.N.Y. 2004). Competition experts have noted that past experience participating in

cartels enables companies to spot opportunities to profitably engage in anticompetitive

conduct while evading detection. Competition Policy International maintains a list of the

“fifty-two leading recidivists,” in which Defendants BASF and Bayer are among the top

5 leading antitrust recidivists, and Defendant Corteva is also listed.

       100.   This conspiracy was a per se violation of Section 1 of the Sherman

Antitrust Act, 15 U.S.C. § 1.

       101.   Alternatively, this conspiracy was a “quick look” or rule of reason violation

of Section 1 of the Sherman Antitrust Act. There is no legitimate business justification

for, or procompetitive benefits attributable to, Defendants’ conspiracy and overt acts in

furtherance thereof. Any business justification or pro-competitive benefits proffered by

Defendants would be pretextual, outweighed by the anticompetitive effects of

Defendants’ conduct, and, in any event, could be achieved by means less restrictive than

the conspiracy and overt acts alleged herein.

       102.   Plaintiff and the other members of the Classes have been injured, and will

continue to be injured, in their business and property by reason of Defendants’ unlawful

combination, contract, conspiracy, and agreement. Plaintiff and members of the Classes


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have paid more for Crop Inputs than they otherwise would have paid in the absence of

Defendants’ collusive conduct. This injury is of the type the federal antitrust laws were

designed to prevent and flows from that which makes Defendants’ conduct unlawful.

          103.   In formulating and effectuating this conspiracy, Defendants did those things

that they combined and conspired to do, including agreeing to boycott online sales

platforms, including FBN and AgVend, by refusing to supply Crop Inputs manufactured

by Manufacturer Defendants to online sales platforms.

          104.   The combination and conspiracy alleged herein has had the following

effects, among others:

             a. Price competition in the sale of Crop Inputs has been restrained,

                 suppressed, and/or eliminated in the United States;

             b. Prices for Crop Inputs sold by Defendants and all of their co-conspirators

                 have been fixed, raised, maintained, and stabilized at artificially high, non-

                 competitive levels throughout the United States; and

             c. Those who purchase Crop Inputs from Defendants and their co-conspirators

                 have been deprived of the benefits of free and open competition.

          105.   Plaintiff and Class members have been injured and will continue to be

injured by paying more for Crop Inputs manufactured or sold by Defendants than they

would have paid and will pay in the absence of the combination or conspiracy as alleged

herein.

          106.   Plaintiff and Class members are entitled to an injunction against

Defendants, preventing and restraining the violations alleged herein.


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                            SECOND CLAIM FOR RELIEF
                         Violation of the State Antitrust Statutes

       107.     Plaintiff incorporates and realleges each and every allegation in the

preceding paragraphs, as though fully set forth herein.

       108.     During the Class Period, Defendants engaged in a continuing contract,

combination, or conspiracy with respect to the sale of Crop Inputs in an unreasonable

restraint of trade in commerce, in violation of the various state antitrust and consumer

protection statutes set forth below.

       109.     Defendants acts’ and combinations in furtherance of the conspiracy have

caused unreasonable restraints in the market for Crop Inputs.

       110.     As a result of Defendants’ unlawful conduct, Plaintiff and other similarly

situated Class members who purchased Crop Inputs have been harmed by being forced to

pay artificially inflated, supracompetitive prices for Crop Inputs.

       111.     By engaging in the foregoing conduct, Defendants intentionally and

wrongfully engaged in a contract, combination, or conspiracy in restraint of trade in

violation of the following state antitrust laws pleaded below.

       112.     Arizona. Defendants have entered into an unlawful agreement in restraint

of trade in violation of Ariz. Rev. Stat. Ann. §§ 44-1402, et seq. with respect to

purchases of Crop Inputs in Arizona by Class members and/or purchases by Arizona

residents.

             a. Defendants’ combination or conspiracy had the following effects: (1) Crop

                Inputs price competition was restrained, suppressed, and eliminated



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              throughout Arizona; (2) Crop Inputs prices were raised, fixed, maintained

              and stabilized at artificially high levels throughout Arizona; (3) members of

              the Classes were deprived of free and open competition; and (4) members

              of the Classes paid supracompetitive, artificially inflated prices for Crop

              Inputs.

          b. During the Class Period, Defendants’ illegal conduct substantially affected

              Arizona commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

              of the Classes have been injured in their business and property and are

              threatened with further injury.

          d. Defendants entered into agreements in restraint of trade in violation of Ariz.

              Rev. Stat. §§ 44-1401, et seq. Accordingly, members of the Classes seek all

              forms of relief available under Ariz. Rev. Stat. Ann. §§ 44-1402, et seq.

       113.   California. Defendants have entered into an unlawful agreement in

restraint of trade in violation of Cal. Bus. & Prof. Code, §§ 16720, et seq. with respect

to purchases of Crop Inputs in California by Class members and/or purchases by

California residents.

          a. During the Class Period, Defendants entered into and engaged in a

              continuing unlawful trust in restraint of the trade and commerce described

              above in violation of Cal. Bus. & Prof. Code § 16720, each of them, have

              acted in violation of Section 16720 to fix, raise, stabilize, and maintain

              prices of Crop Inputs at supracompetitive levels.


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  b. The aforesaid violations of Cal. Bus. & Prof. Code § 16720, consisted,

     without limitation, of a continuing unlawful trust and concert of action

     among the Defendants, the substantial terms of which were to fix, raise,

     maintain, and stabilize the prices of Crop Inputs.

  c. For the purpose of forming and effectuating the unlawful trust, the

     Defendants have done those things which they combined and conspired to

     do, including but not limited to the acts, practices and course of conduct set

     forth above and the following: (1) fixing, raising, stabilizing, and pegging

     the price of Crop Inputs.

  d. The combination and conspiracy alleged herein has had, inter alia, the

     following effects: (1) price competition in the sale of Crop Inputs has been

     restrained, suppressed, and/or eliminated in the State of California; (2)

     prices for Crop Inputs sold by Defendants have been fixed, raised,

     stabilized, and pegged at artificially high, non-competitive levels in the

     State of California and throughout the United States; and (3) those who

     purchased Crop Inputs directly or indirectly from Defendants have been

     deprived of the benefit of free and open competition.

  e. As a direct and proximate result of Defendants’ unlawful conduct, members

     of the Classes have been injured in their business and property in that they

     paid more for Crop Inputs than they otherwise would have paid in the

     absence of Defendants’ unlawful conduct. As a result of Defendants’

     violation of Cal. Bus. & Prof. Code § 16720, members of the Classes seek


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             treble damages and their cost of suit, including a reasonable attorney’s fee,

             pursuant to Cal. Bus. & Prof. Code § 16720.

      114.   Connecticut. Defendants have entered into an unlawful agreement in

restraint of trade in violation of Conn. Gen. Stat. § 35-26, et seq. with respect to

purchases of Crop Inputs in Connecticut by Class members and/or purchases by

Connecticut residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Connecticut; (2) Crop Inputs prices were raised, fixed,

             maintained,    and   stabilized      at   artificially   high   levels   throughout

             Connecticut; (3) members of the Classes were deprived of free and open

             competition; and (4) members of the Classes paid supracompetitive,

             artificially inflated prices for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct substantially affected

             Connecticut commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

             restraint of trade in violation of Conn. Gen. Stat. § 35-26, et seq.

             Accordingly, members of the Classes seek all forms of relief available

             under Conn. Gen. Stat. § 35-24, et seq.


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      115.   Hawaii. Defendants have entered into an unlawful agreement in restraint of

trade in violation of Haw. Rev. Stat. Ann. § 480-1, et seq. with respect to purchases of

Crop Inputs in Hawaii by Class members and/or purchases by Hawaii residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Hawaii; (2) Crop Inputs prices were raised, fixed, maintained,

             and stabilized at artificially high levels throughout Hawaii; (3) members of

             the Classes were deprived of free and open competition; and (4) members

             of the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

          b. During the Class Period, Defendants’ illegal conduct substantially affected

             Hawaii commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

             restraint of trade in violation of Haw. Rev. Stat. Ann. § 480-1, et seq.

             Accordingly, members of the Classes seek all forms of relief available

             under Haw. Rev. Stat. Ann. § 480-1, et seq.

      116.   Illinois. Defendants have entered into an unlawful agreement in restraint of

trade in violation of 740 Ill. Comp. Stat. Ann. 10/1, et seq. with respect to purchases of

Crop Inputs by Class members and/or purchases by Illinois residents.


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          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Illinois; (2) Crop Inputs prices were raised, fixed, maintained,

             and stabilized at artificially high levels throughout Illinois; (3) members of

             the Classes were deprived of free and open competition; and (4) members

             of the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

          b. During the Class Period, Defendants’ illegal conduct substantially affected

             Illinois commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

             restraint of trade in violation of 740 Ill. Comp. Stat. Ann. 10/3, et seq.

             Accordingly, members of the Classes seek all forms of relief available

             under 740 Ill. Comp. Stat. Ann. 10/3, et seq.

      117.   Iowa. Defendants have entered into an unlawful agreement in restraint of

trade in violation of Iowa Code §§ 553.4 et seq. with respect to purchases of Crop Inputs

in Iowa by Class members and/or purchases by Iowa residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Iowa; (2) Crop Inputs prices were raised, fixed, maintained, and


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             stabilized at artificially high levels throughout Iowa; (3) members of the

             Classes were deprived of free and open competition; and (4) members of

             the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

          b. During the Class Period, Defendants’ illegal conduct substantially affected

             Iowa commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

             restraint of trade in violation of Iowa Code §§ 553.4, et seq. Accordingly,

             members of the Classes seek all forms of relief available under Iowa Code

             §§ 553.4, et seq.

      118.   Kansas. Defendants have entered into an unlawful agreement in restraint of

trade in violation of Kan. Stat. Ann. §§ 50-101, et seq. with respect to purchases of Crop

Inputs in Kansas by Class members and/or purchases by Kansas residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Kansas; (2) Crop Inputs prices were raised, fixed, maintained,

             and stabilized at artificially high levels throughout Kansas; (3) members of

             the Classes were deprived of free and open competition; and (4) members




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              of the Classes paid supracompetitive, artificially inflated prices for Crop

              Inputs.

          b. During the Class Period, Defendants’ illegal conduct substantially affected

              Kansas commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

              of the Classes have been injured in their business and property and are

              threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Kan. Stat. Ann. §§ 50-101, et seq.

              Accordingly, members of the Classes seek all forms of relief available

              under Kan. Stat. Ann. §§ 50-101, et seq.

       119.   Maine. Defendants have entered into an unlawful agreement in restraint of

trade in violation of Me. Rev. Stat. tit. 10, §§ 1101, et seq. with respect to purchases of

Crop Inputs in Maine by Class members and/or purchases by Maine residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

              Inputs price competition was restrained, suppressed, and eliminated

              throughout Maine; (2) Crop Inputs prices were raised, fixed, maintained,

              and stabilized at artificially high levels throughout Maine; (3) members of

              the Classes were deprived of free and open competition; and (4) members

              of the Classes paid supracompetitive, artificially inflated prices for Crop

              Inputs.




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             b. During the Class Period, Defendants’ illegal conduct substantially affected

                Maine commerce.

             c. As a direct and proximate result of Defendants’ unlawful conduct, members

                of the Classes have been injured in their business and property and are

                threatened with further injury.

             d. By reason of the foregoing, Defendants have entered into agreements in

                restraint of trade in violation of Me. Rev. Stat. tit. 10, §§ 1101, et seq.

                Accordingly, members of the Classes seek all relief available under Me.

                Rev. Stat. tit. 10, §§ 1101, et seq.

       120.     Maryland. Defendants have entered into an unlawful agreement in restraint

of trade in violation of Md. Code, Com. Law §§ 11-201, et seq. with respect to

purchases of Crop Inputs in Michigan by Class members and/or purchases by Michigan

residents.

             a. Defendants’ combination or conspiracy had the following effects: (1) Crop

                Inputs price competition was restrained, suppressed, and eliminated

                throughout Maryland; (2) Crop Inputs prices were raised, fixed, maintained

                and stabilized at artificially high levels throughout Maryland; (3) members

                of the Classes were deprived of free and open competition; and (4)

                members of the Classes paid supracompetitive, artificially inflated prices

                for Crop Inputs.

             b. During the Class Period, Defendants’ illegal conduct substantially affected

                Maryland commerce.


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             c. As a direct and proximate result of Defendants’ unlawful conduct, members

                of the Classes have been injured in their business and property and are

                threatened with further injury.

             d. By reason of the foregoing, Defendants have entered into agreements in

                restraint of trade in violation of Md. Code, Com. Law §§ 11-201, et seq.

                Accordingly, members of the Classes seek all relief available under Md.

                Code, Com. Law §§ 11-201, et seq.

       121.     Michigan. Defendants have entered into an unlawful agreement in restraint

of trade in violation of Mich. Comp. Laws Ann. §§ 445.772, et seq. with respect to

purchases of Crop Inputs in Michigan by Class members and/or purchases by Michigan

residents.

             a. Defendants’ combination or conspiracy had the following effects: (1) Crop

                Inputs price competition was restrained, suppressed, and eliminated

                throughout Michigan; (2) Crop Inputs prices were raised, fixed, maintained

                and stabilized at artificially high levels throughout Michigan; (3) members

                of the Classes were deprived of free and open competition; and (4)

                members of the Classes paid supracompetitive, artificially inflated prices

                for Crop Inputs.

             b. During the Class Period, Defendants’ illegal conduct substantially affected

                Michigan commerce.




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          c. As a direct and proximate result of Defendants’ unlawful conduct, members

              of the Classes have been injured in their business and property and are

              threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Mich. Comp. Laws Ann. §§ 445.772, et

              seq. Accordingly, members of the Classes seek all relief available under

              Mich. Comp. Laws Ann. §§ 445.772, et seq.

       122.   Minnesota. Defendants have entered into an unlawful agreement in

restraint of trade in violation of Minn. Stat. §§ 325D.51, et seq. with respect to purchases

of Crop Inputs in Minnesota by Class members and/or purchases by Minnesota residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

              Inputs price competition was restrained, suppressed, and eliminated

              throughout Minnesota; (2) Crop Inputs prices were raised, fixed,

              maintained and stabilized at artificially high levels throughout Minnesota;

              (3) members of the Classes were deprived of free and open competition;

              and (4) members of the Classes paid supracompetitive, artificially inflated

              prices for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct substantially affected

              Minnesota commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

              of the Classes have been injured in their business and property and are

              threatened with further injury.


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          d. By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Minn. Stat. §§ 325D.51, et seq.

              Accordingly, members of the Classes seek all relief available under Minn.

              Stat. §§ 325D.51, et seq.

       123.   Mississippi. Defendants have entered into an unlawful agreement in

restraint of trade in violation of Miss. Code Ann. §§ 75-21-3, et seq. with respect to

purchases of Crop Inputs in Mississippi by Class members and/or purchases by

Mississippi residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

              Inputs price competition was restrained, suppressed, and eliminated

              throughout Mississippi; (2) Crop Inputs prices were raised, fixed,

              maintained and stabilized at artificially high levels throughout Mississippi;

              (3) members of the Classes were deprived of free and open competition;

              and (4) members of the Classes paid supracompetitive, artificially inflated

              prices for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct substantially affected

              Mississippi commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

              of the Classes have been injured in their business and property and are

              threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Miss. Code Ann. §§ 75-21-3, et seq.


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             Accordingly, members of the Classes seek all relief available under Miss.

             Code Ann. §§ 75-21-3, et seq.

      124.   Nebraska. Defendants have entered into an unlawful agreement in restraint

of trade in violation of Neb. Rev. Stat. Ann. §§ 59-801, et seq. with respect to purchases

of Crop Inputs in Nebraska by Class members and/or purchases by Nebraska residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Nebraska; (2) Crop Inputs prices were raised, fixed, maintained

             and stabilized at artificially high levels throughout Nebraska; (3) members

             of the Classes were deprived of free and open competition; and (4)

             members of the Classes paid supracompetitive, artificially inflated prices

             for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct substantially affected

             Nebraska commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

             restraint of trade in violation of Neb. Rev. Stat. Ann. §§ 59-801, et seq.

             Accordingly, members of the Classes seek all relief available under Neb.

             Rev. Stat. Ann. §§ 59-801, et seq.




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      125.   Nevada. Defendants have entered into an unlawful agreement in restraint of

trade in violation of Nev. Rev. Stat. Ann. §§ 598A.060, et seq. with respect to purchases

of Crop Inputs in Nevada by Class members and/or purchases by Nevada residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Nevada; (2) Crop Inputs prices were raised, fixed, maintained

             and stabilized at artificially high levels throughout Nevada; (3) members of

             the Classes were deprived of free and open competition; and (4) members

             of the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

          b. During the Class Period, Defendants’ illegal conduct substantially affected

             Nevada commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

             restraint of trade in violation of Nev. Rev. Stat. Ann. §§ 598A.060, et seq.

             Accordingly, members of the Classes seek all relief available under Nev.

             Rev. Stat. Ann. §§ 598A.060, et seq.

      126.   New Hampshire. Defendants have entered into an unlawful agreement in

restraint of trade in violation of N.H. Rev. Stat. Ann. §§ 356:2, et seq., with respect to




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purchases of Crop Inputs in New Hampshire by Class members and/or purchases by New

Hampshire residents.

         a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout New Hampshire; (2) Crop Inputs prices were raised, fixed,

             maintained and stabilized at artificially high levels throughout New

             Hampshire; (3) members of the Classes were deprived of free and open

             competition; and (4) members of the Classes paid supracompetitive,

             artificially inflated prices for Crop Inputs.

         b. During the Class Period, Defendants’ illegal conduct substantially affected

             New Hampshire commerce.

         c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

         d. By reason of the foregoing, Defendants have entered into agreements in

             restraint of trade in violation of N.H. Rev. Stat. Ann. §§ 356:2, et seq.

             Accordingly, members of the Classes seek all relief available under N.H.

             Rev. Stat. Ann. §§ 356:2, et seq.

      127.   New Mexico. Defendants have entered into an unlawful agreement in

restraint of trade in violation of N.M. Stat. Ann. §§ 57-1-1, et seq. with respect to

purchases of Crop Inputs in New Mexico by Class members and/or purchases by New

Mexico residents.


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             a. Defendants’ combination or conspiracy had the following effects: (1) Crop

                Inputs price competition was restrained, suppressed, and eliminated

                throughout New Mexico; (2) Crop Inputs prices were raised, fixed,

                maintained and stabilized at artificially high levels throughout New

                Mexico; (3) members of the Classes were deprived of free and open

                competition; and (4) members of the Classes paid supracompetitive,

                artificially inflated prices for Crop Inputs.

             b. During the Class Period, Defendants’ illegal conduct substantially affected

                New Mexico commerce.

             c. As a direct and proximate result of Defendants’ unlawful conduct, members

                of the Classes have been injured in their business and property and are

                threatened with further injury.

             d. By reason of the foregoing, Defendants have entered into agreements in

                restraint of trade in violation of N.M. Stat. Ann. §§ 57-1-1, et seq.

                Accordingly, members of the Classes seek all relief available under N.M.

                Stat. Ann. §§ 57-1-1, et seq.

       128.     New York. Defendants have entered into an unlawful agreement in

restraint of trade in violation of N.Y. Gen. Bus. Law §§ 340, et seq. with respect to

purchases of Crop Inputs in New York by Class members and/or purchases by New York

residents.

             a. Defendants’ combination or conspiracy had the following effects: (1) Crop

                Inputs price competition was restrained, suppressed, and eliminated


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                throughout New York; (2) Crop Inputs prices were raised, fixed,

                maintained and stabilized at artificially high levels throughout New York;

                (3) members of the Classes were deprived of free and open competition;

                and (4) members of the Classes paid supracompetitive, artificially inflated

                prices for Crop Inputs, or purchased products that were otherwise of lower

                quality than they would have been absent the conspirators illegal acts, or

                were unable to purchase products that they otherwise would have purchased

                absent the illegal conduct.

             b. During the Class Period, Defendants’ illegal conduct substantially affected

                New York commerce.

             c. As a direct and proximate result of Defendants’ unlawful conduct, members

                of the Classes have been injured in their business and property and are

                threatened with further injury.

             d. By reason of the foregoing, Defendants have entered into agreements in

                restraint of trade in violation of N.Y. Gen. Bus. Law §§ 340, et seq. The

                conduct set forth above is a per se violation of the Act. Accordingly,

                members of the Classes seek all relief available under N.Y. Gen. Bus. Law

                §§ 340, et seq.

       129.     North Carolina. Defendants have entered into an unlawful agreement in

restraint of trade in violation of N.C. Gen. Stat. §§ 75-1, et seq. with respect to purchases

of Crop Inputs in North Carolina by Class members and/or purchases by North Carolina

residents.


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          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout North Carolina; (2) Crop Inputs prices were raised, fixed,

             maintained and stabilized at artificially high levels throughout North

             Carolina; (3) members of the Classes were deprived of free and open

             competition; and (4) members of the Classes paid supracompetitive,

             artificially inflated prices for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct substantially affected

             North Carolina commerce.

          c. As a direct and proximate result of the Defendants’ unlawful conduct,

             members of the Classes have been injured in their business and property

             and are threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

             restraint of trade in violation of N.C. Gen. Stat. §§ 75-1, et seq.

             Accordingly, members of the Classes seek all relief available under N.C.

             Gen. Stat. §§ 75-1, et. seq.

      130.   North Dakota. Defendants have entered into an unlawful agreement in

restraint of trade in violation of N.D. Cent. Code §§ 51-08.1-01, et seq. with respect to

purchases of Crop Inputs in North Dakota by Class members and/or purchases by North

Dakota residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated


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              throughout North Dakota; (2) Crop Inputs prices were raised, fixed,

              maintained and stabilized at artificially high levels throughout North

              Dakota; (3) members of the Classes were deprived of free and open

              competition; and (4) members of the Classes paid supracompetitive,

              artificially inflated prices for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

              effect on North Dakota commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

              of the Classes have been injured in their business and property and are

              threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of N.D. Cent. Code §§ 51-08.1-01, et seq.

              Accordingly, members of the Classes seek all relief available under N.D.

              Cent. Code §§ 51-08.1-01, et seq.

       131.   Oregon. Defendants have entered into an unlawful agreement in restraint of

trade in violation of Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases of Crop

Inputs in Oregon by Class members and/or purchases by Oregon residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

              Inputs price competition was restrained, suppressed, and eliminated

              throughout Oregon; (2) Crop Inputs prices were raised, fixed, maintained

              and stabilized at artificially high levels throughout Oregon; (3) members of

              the Classes were deprived of free and open competition; and (4) members


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              of the Classes paid supracompetitive, artificially inflated prices for Crop

              Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

              effect on Oregon commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

              of the Classes have been injured in their business and property and are

              threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Or. Rev. Stat. §§ 646.705, et seq.

              Accordingly, members of the Classes seek all relief available under Or.

              Rev. Stat. §§ 646.705, et seq.

       132.   Rhode Island. Defendants have entered into an unlawful agreement in

restraint of trade in violation of 6 R.I. Gen. Laws Ann. §§ 6-36-4, et seq. with respect to

purchases of Crop Inputs in Rhode Island by Class members and/or purchases by Rhode

Island residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

              Inputs price competition was restrained, suppressed, and eliminated

              throughout Rhode Island; (2) Crop Inputs prices were raised, fixed,

              maintained, and stabilized at artificially high levels throughout Rhode

              Island; (3) members of the Classes were deprived of free and open

              competition; and (4) members of the Classes paid supracompetitive,

              artificially inflated prices for Crop Inputs.


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          b. During the Class Period, Defendants’ illegal conduct substantially affected

             Rhode Island commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

             restraint of trade in violation of 6 R.I. Gen. Laws Ann. §§ 6-36-4, et seq.

             Accordingly, members of the Classes seek all forms of relief available

             under 6 R.I. Gen. Laws Ann. §§ 6-13.1-1, et seq.

      133.   South Dakota. Defendants have entered into an unlawful agreement in

restraint of trade in violation of S.D. Codified Laws §§ 37-1-3.1, et seq. with respect to

purchases of Crop Inputs in South Dakota by Class members and/or purchases by South

Dakota residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout South Dakota; (2) Crop Inputs prices were raised, fixed,

             maintained and stabilized at artificially high levels throughout South

             Dakota; (3) members of the Classes were deprived of free and open

             competition; and (4) members of the Classes paid supracompetitive,

             artificially inflated prices for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on South Dakota commerce.


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             c. As a direct and proximate result of Defendants’ unlawful conduct, members

                of the Classes have been injured in their business and property and are

                threatened with further injury.

             d. By reason of the foregoing, Defendants have entered into agreements in

                restraint of trade in violation of S.D. Codified Laws §§ 37-1-3.1, et seq.

                Accordingly, members of the Classes seek all relief available under S.D.

                Codified Laws §§ 37-1-3.1, et seq.

       134.     Tennessee. Defendants have entered into an unlawful agreement in

restraint of trade in violation of Tenn. Code Ann. §§ 47-25-101, et seq. with respect to

purchases of Crop Inputs in Tennessee by Class members and/or purchases by Tennessee

residents.

             a. Defendants’ combination or conspiracy had the following effects: (1) Crop

                Inputs price competition was restrained, suppressed, and eliminated

                throughout Tennessee; (2) Crop Inputs prices were raised, fixed,

                maintained, and stabilized at artificially high levels throughout Tennessee;

                (3) members of the Classes were deprived of free and open competition;

                and (4) members of the Classes paid supracompetitive, artificially inflated

                prices for Crop Inputs.

             b. During the Class Period, Defendants’ illegal conduct had a substantial

                effect on Tennessee commerce.




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          c. As a direct and proximate result of the Defendants’ unlawful conduct,

             members of the Classes have been injured in their business and property

             and are threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

             restraint of trade in violation of Tenn. Code Ann. §§ 47-25-101, et seq.

             Accordingly, members of the Classes seek all relief available under Tenn.

             Code Ann. §§ 47-25-101, et seq.

      135.   Utah. Defendants have entered into an unlawful agreement in restraint of

trade in violation of Utah Code Ann. §§ 76-10-3101, et seq. with respect to purchases of

Crop Inputs in Utah by Class members and/or purchases by Utah residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Utah; (2) Crop Inputs prices were raised, fixed, maintained and

             stabilized at artificially high levels throughout Utah; (3) members of the

             Classes were deprived of free and open competition; and (4) members of

             the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on Utah commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.


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          d. By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Utah Code Ann. §§ 76-10-3101, et seq.

              Accordingly, members of the Classes seek all relief available under Utah

              Code Ann. §§ 76-10-3101, et seq.

       136.   Vermont. Defendants have entered into an unlawful agreement in restraint

of trade in violation of Vt. Stat. Ann. tit. 9, §§ 2453, et seq. with respect to purchases of

Crop Inputs in Vermont by Class members and/or purchases by Vermont residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

              Inputs price competition was restrained, suppressed, and eliminated

              throughout Vermont; (2) Crop Inputs prices were raised, fixed, maintained

              and stabilized at artificially high levels throughout Vermont; (3) members

              of the Classes were deprived of free and open competition; and (4)

              members of the Classes paid supracompetitive, artificially inflated prices

              for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

              effect on Vermont commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

              of the Classes have been injured in their business and property and are

              threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Vt. Stat. Ann. tit. 9, §§ 2453, et seq.




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              Accordingly, members of the Classes seek all relief available under Vt.

              Stat. Ann. tit. 9, §§ 2453, et seq.

       137.   West Virginia. Defendants have entered into an unlawful agreement in

restraint of trade in violation of W. Va. Code §§ 47-18-4, et seq. with respect to

purchases of Crop Inputs in West Virginia by Class members and/or purchases by West

Virginia residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

              Inputs price competition was restrained, suppressed, and eliminated

              throughout West Virginia; (2) Crop Inputs prices were raised, fixed,

              maintained and stabilized at artificially high levels throughout West

              Virginia; (3) members of the Classes were deprived of free and open

              competition; and (4) members of the Classes paid supracompetitive,

              artificially inflated prices for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

              effect on West Virginia commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

              of the Classes have been injured in their business and property and are

              threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of W. Va. Code §§ 47-18-1, et seq.

              Accordingly, members of the Classes seek all relief available under W. Va.

              Code §§ 47-18-1, et seq.


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      138.   Wisconsin. Defendants have entered into an unlawful agreement in restraint

of trade in violation of Wis. Stat. §§ 133.01 et seq. with respect to purchases of Crop

Inputs in Wisconsin by Class members and/or purchases by Wisconsin residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Wisconsin; (2) Crop Inputs prices were raised, fixed,

             maintained and stabilized at artificially high levels throughout Wisconsin;

             (3) members of the Classes were deprived of free and open competition;

             and (4) members of the Classes paid supracompetitive, artificially inflated

             prices for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on Wisconsin commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into agreements in

             restraint of trade in violation of Wis. Stat. §§ 133.01, et seq. Accordingly,

             members of the Classes seek all relief available under Wis. Stat. §§ 133.01,

             et seq.




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                           THIRD CLAIM FOR RELIEF
                   Violation of State Consumer Protection Statutes

       139.   Plaintiff incorporates and realleges each and every allegation in the

preceding paragraphs, as though fully set forth herein.

       140.   Defendants engaged in unfair competition, or unfair, unconscionable,

deceptive, or fraudulent acts or practices in violation of the state consumer protection and

unfair competition statutes listed below.

       141.   Arizona. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Ariz. Rev. Stat.

Ann. §§ 44-1521, et seq., with respect to purchases of Crop Inputs in Arizona by Class

members and/or purchases by Arizona residents.

          a. Defendants knowingly agreed to, and did in fact, act in restraint of trade or

              commerce by affecting, fixing, controlling, and/or maintaining at non-

              competitive and artificially inflated levels, the prices at which Crop Inputs

              were sold, distributed, or obtained in Arizona and took efforts to conceal

              their agreements from members of the Classes.

          b. The aforementioned conduct on the part of the Defendants constituted

              deceptive or unfair acts or practices in violation of Ariz. Rev. Stat. Ann. §

              44-1522(A).

          c. Defendants’ unlawful conduct had the following effects: (1) Crop Inputs

              price competition was restrained, suppressed, and eliminated throughout

              Arizona; (2) Crop Inputs prices were raised, fixed, maintained, and



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             stabilized at artificially high levels throughout Arizona; (3) members of the

             Classes were deprived of free and open competition; and (4) members of

             the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

          d. During the Class Period, Defendants’ illegal conduct substantially affected

             Arizona commerce and consumers.

          e. As a direct and proximate result of the unlawful conduct of Defendants,

             members of the Classes have been injured in their business and property

             and are threatened with further injury.

          f. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of Ariz. Rev. Stat. Ann. § 44-1522, and,

             accordingly, members of the Classes seek all relief available under that

             statute.

      142.   Arkansas. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Ark. Code §§ 4-

88-101, et seq., with respect to purchases of Crop Inputs in Arkansas by Class members

and/or purchases by Arkansas residents.

          a. Defendants knowingly agreed to, and did in fact, act in restraint of trade or

             commerce by affecting, fixing, controlling, and/or maintaining at non-

             competitive and artificially inflated levels, the prices at which Crop Inputs

             were sold, distributed, or obtained in Arkansas and took efforts to conceal

             their agreements from members of the Classes.


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         b. The aforementioned conduct on the part of the Defendants constituted

             “unconscionable” and “deceptive” acts or practices in violation of Ark.

             Code Ann. § 4-88-107(a)(10).

         c. Defendants’ unlawful conduct had the following effects: (1) Crop Inputs

             price competition was restrained, suppressed, and eliminated throughout

             Arkansas; (2) Crop Inputs prices were raised, fixed, maintained, and

             stabilized at artificially high levels throughout Arkansas; (3) members of

             the Classes were deprived of free and open competition; and (4) members

             of the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

         d. During the Class Period, Defendants’ illegal conduct substantially affected

             Arkansas commerce and consumers.

         e. As a direct and proximate result of the unlawful conduct of Defendants,

             members of the Classes have been injured in their business and property

             and are threatened with further injury.

         f. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of Ark. Code Ann., § 4-88-107(a)(10) and,

             accordingly, members of the Classes seek all relief available under that

             statute.

      143.   California. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Cal. Bus. &




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Prof. Code §§ 17200, et seq, with respect to purchases of Crop Inputs in California by

Class members and/or purchases by California residents.

          a. During the Class Period, Defendants marketed, sold, or distributed Crop

             Inputs in California, and committed and continue to commit acts of unfair

             competition, as defined by Cal. Bus. & Prof. Code §§ 17200, et seq., by

             engaging in the acts and practices specified above.

          b. This claim is instituted pursuant to Cal. Bus. & Prof. Code §§ 17203 and

             17204, to obtain restitution from these Defendants for acts, as alleged

             herein, that violated Cal. Bus. & Prof. Code § 17200, commonly known as

             the Unfair Competition Law.

          c. Defendants’ conduct as alleged herein violated Cal. Bus. & Prof. Code §

             17200. The acts, omissions, misrepresentations, practices and non-

             disclosures of Defendants, as alleged herein, constituted a common,

             continuous, and continuing course of conduct of unfair competition by

             means of unfair, unlawful, and/or fraudulent business acts or practices

             within the meaning of Cal. Bus. & Prof. Code §§ 17200, et seq., including,

             but not limited to, the following: (1) the violations of Section 1 of the

             Sherman Act, as set forth above; (2) the violations of Cal. Bus. & Prof.

             Code § 16720, et seq., set forth above.

          d. Defendants’ acts, omissions, misrepresentations, practices, and non-

             disclosures, as described above, are otherwise unfair, unconscionable,




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     unlawful or fraudulent, whether or not in violation of Cal. Bus. & Prof.

     Code §§ 16720, et seq., and whether or not concerted or independent acts.

  e. Defendants’ acts or practices are unfair to consumers of Crop Inputs in the

     State of California within the meaning of Cal. Bus. & Prof. Code § 17200.

  f. Defendants’ acts and practices are fraudulent or deceptive within the

     meaning of Cal. Bus. & Prof. Code § 17200.

  g. Members of the Classes are entitled to full restitution and/or disgorgement

     of all revenues, earnings, profits, compensation, and benefits that may have

     been obtained by Defendants as a result of such business acts or practices.

  h. The illegal conduct alleged herein is continuing and there is no indication

     that Defendants will not continue such activity into the future.

  i. The unlawful and unfair business practices of Defendants, each of them,

     have caused and continue to cause the members of the Classes to pay

     supracompetitive and artificially inflated prices for Crop Inputs. Members

     of the Classes suffered injury in fact and lost money or property as a result

     of such unfair competition.

  j. The conduct of Defendants as alleged in this Complaint violates Cal. Bus.

     & Prof. Code § 17200.

  k. As alleged in this Complaint, Defendants have been unjustly enriched as a

     result of their wrongful conduct and by Defendants’ unfair competition.

     Plaintiff and the members of the Classes are accordingly entitled to

     equitable relief including restitution and/or disgorgement of all revenues,


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             earnings, profits, compensation, and benefits that may have been obtained

             by Defendants as a result of such business practices, pursuant to Cal. Bus.

             & Prof. Code §§ 17203 and 17204.

      144.   District of Columbia. Defendants have engaged in unfair competition or

unfair, unconscionable, deceptive or fraudulent acts or practices in violation of D.C.

Code §§ 28-3901, et seq. with respect to purchases of Crop Inputs in D.C. by Class

members and/or purchases by D.C. residents.

         a. Defendants agreed to, and did in fact, act in restraint of trade or commerce

             by affecting, fixing, controlling and/or maintaining, at artificial and/or non-

             competitive levels, the prices at which Crop Inputs were sold, distributed or

             obtained in the District of Columbia.

         b. The foregoing conduct constitutes “unlawful trade practices,” within the

             meaning of D.C. Code § 28-3904. Members of the Classes were not aware

             of Defendants’ price-fixing conspiracy and were therefore unaware that

             they were being unfairly and illegally overcharged. There was a gross

             disparity of bargaining power between the parties with respect to the price

             charged by Defendants for Crop Inputs. Defendants had the sole power to

             set that price and members of the Classes had no power to negotiate a lower

             price. Moreover, members of the Classes lacked any meaningful choice in

             purchasing Crop Inputs because they were unaware of the unlawful

             overcharge and there was no alternative source of supply through which

             members of the Classes could avoid the overcharges. Defendants’ conduct


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     with regard to sales of Crop Inputs, including their illegal conspiracy to

     secretly fix the price of Crop Inputs at supracompetitive levels and

     overcharge consumers, was substantively unconscionable because it was

     one-sided and unfairly benefited Defendants at the expense of members of

     the Classes. Defendants took grossly unfair advantage of members of the

     Classes. The suppression of competition that has resulted from Defendants’

     conspiracy has ultimately resulted in unconscionably higher prices for

     consumers so that there was a gross disparity between the price paid and

     the value received for Crop Inputs.

  c. Defendants’ unlawful conduct had the following effects: (1) Crop Inputs

     price competition was restrained, suppressed, and eliminated throughout the

     District of Columbia; (2) Crop Inputs prices were raised, fixed, maintained,

     and stabilized at artificially high levels throughout the District of Columbia;

     (3) members of the Classes were deprived of free and open competition;

     and (4) members of the Classes paid supracompetitive, artificially inflated

     prices for Crop Inputs.

  d. As a direct and proximate result of Defendants’ unlawful conduct, members

     of the Classes have been injured and are threatened with further injury.

     Defendants have engaged in unfair competition or unfair or deceptive acts

     or practices in violation of D.C. Code §§ 28-3901, et seq., and, accordingly,

     members of the Classes seek all relief available under that statute.




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      145.   Florida. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Fla. Stat. §§

501.201, et seq, with respect to purchases of Crop Inputs in Florida by Class members

and/or purchases by Florida residents.

          a. Defendants’ unlawful conduct had the following effects: (1) Crop Inputs

             price competition was restrained, suppressed, and eliminated throughout

             Florida; (2) Crop Inputs prices were raised, fixed, maintained, and

             stabilized at artificially high levels throughout Florida; (3) members of the

             Classes were deprived of free and open competition; and (4) members of

             the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

          b. During the Class Period, Defendants’ illegal conduct substantially affected

             Florida commerce and consumers.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured and are threatened with further injury.

          d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of Fla. Stat. §§ 501.201, et seq., and, accordingly,

             members of the Classes seek all relief available under that statute.

      146.   Hawaii. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Haw. Rev. Stat.

Ann. §§ 480-1, et seq. with respect to purchases of Crop Inputs in Hawaii by Class

members and/or purchases by Hawaii residents.


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          a. Defendants’ unlawful conduct had the following effects: (1) Crop Inputs

             price competition was restrained, suppressed, and eliminated throughout

             Hawaii; (2) Crop Inputs prices were raised, fixed, maintained, and

             stabilized at artificially high levels throughout Hawaii; (3) members of the

             Classes were deprived of free and open competition; and (4) members of

             the Classes paid supra-competitive, artificially inflated prices for Crop

             Inputs.

          b. During the Class Period, Defendants’ illegal conduct substantially affected

             Hawaii commerce and consumers.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured and are threatened with further injury.

          d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of Haw. Rev. Stat. Ann. §§ 480-1, et seq., and,

             accordingly, members of the Classes seek all relief available under that

             statute.

      147.   Illinois. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of 815 Ill. Comp.

Stat. Ann. 505/1, et seq. with respect to purchases of Crop Inputs in Illinois by Class

members and/or purchases by Illinois residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Illinois; (2) Crop Inputs prices were raised, fixed, maintained,


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             and stabilized at artificially high levels throughout Illinois; (3) members of

             the Classes were deprived of free and open competition; and (4) members

             of the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on Illinois commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of 815 Ill. Comp. Stat. Ann. 505/1, et seq., and,

             accordingly, members of the Classes seek all relief available under that

             statute.

      148.   Kansas. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Kan. Stat. Ann.

§§ 50-623, et seq., with respect to purchases of Crop Inputs in Kansas by Class members

and/or purchases by Kansas residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Kansas; (2) Crop Inputs prices were raised, fixed, maintained,

             and stabilized at artificially high levels throughout Kansas; (3) members of

             the Classes were deprived of free and open competition; and (4) members


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             of the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on Kansas commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of Kan. Stat. Ann. §§ 50-623, et seq. and,

             accordingly, members of the Classes seek all relief available under that

             statute.

      149.   Maine. have engaged in unfair competition or unfair, unconscionable,

deceptive or fraudulent acts or practices in violation of Me. Rev. Stat. tit. 5, §§ 207, et

seq. with respect to purchases of Crop Inputs in Maine by Class members and/or

purchases by Maine residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Maine; (2) Crop Inputs prices were raised, fixed, maintained,

             and stabilized at artificially high levels throughout Maine; (3) members of

             the Classes were deprived of free and open competition; and (4) members

             of the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.


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         b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on Maine commerce.

         c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

         d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of Me. Rev. Stat. tit. 5, §§ 207, et seq., and,

             accordingly, members of the Classes seek all relief available under that

             statute.

      150.   Massachusetts.     have   engaged   in    unfair   competition   or   unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Mass. Gen.

Laws ch. 93A, § 2 with respect to purchases of Crop Inputs in Massachusetts by Class

members and/or purchases by Massachusetts residents.

         a. Defendants were engaged in trade or commerce as defined by Mass. Gen.

             Laws ch. 93A.

         b. Defendants agreed to, and did in fact, act in restraint of trade or commerce

             in a market which includes Massachusetts, by affecting, fixing, controlling,

             and/or maintaining at artificial and non-competitive levels, the prices at

             which Crop Inputs were sold, distributed, or obtained in Massachusetts and

             took efforts to conceal their agreements from members of the Classes.

         c. Defendants’ unlawful conduct had the following effects: (1) Crop Inputs

             price competition was restrained, suppressed, and eliminated throughout


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             Massachusetts; (2) Crop Inputs prices were raised, fixed, maintained, and

             stabilized at artificially high levels throughout Massachusetts; (3) members

             of the Classes were deprived of free and open competition; and (4)

             members of the Classes paid supracompetitive, artificially inflated prices

             for Crop Inputs.

         d. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes were injured and are threatened with further injury.

         e. Defendants have or will be served with a demand letter in accordance with

             Mass. Gen. Laws ch. 93A, § 9, or, upon information and belief, such

             service of a demand letter was unnecessary due to the defendant not

             maintaining a place       of business within the Commonwealth of

             Massachusetts or not keeping assets within the Commonwealth.

         f. By reason of the foregoing, Defendants engaged in unfair competition and

             unfair or deceptive acts or practices, in violation of Mass. Gen. Laws ch.

             93A, §2. Defendants’ violations of Chapter 93A were knowing or willful,

             entitling members of the Classes to multiple damages.

      151.   Michigan. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Mich. Comp.

Laws Ann. §§ 445.901, et seq. with respect to purchases of Crop Inputs in Michigan by

Class members and/or purchases by Michigan residents.

         a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated


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             throughout Michigan; (2) Crop Inputs prices were raised, fixed, maintained,

             and stabilized at artificially high levels throughout Michigan; (3) members

             of the Classes were deprived of free and open competition; and (4)

             members of the Classes paid supracompetitive, artificially inflated prices

             for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on Michigan commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of Mich. Comp. Laws Ann. §§ 445.901, et seq.,

             and, accordingly, members of the Classes seek all relief available under that

             statute.

      152.   Minnesota. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Minn. Stat. §§

325F.68, et seq., and Minn. Stat. § 8.31 with respect to purchases of Crop Inputs in

Minnesota by Class members and/or purchases by Minnesota residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Minnesota; (2) Crop Inputs prices were raised, fixed,

             maintained, and stabilized at artificially high levels throughout Minnesota;


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             (3) members of the Classes were deprived of free and open competition;

             and (4) members of the Classes paid supracompetitive, artificially inflated

             prices for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on Minnesota commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of Minn. Stat. §§ 325F.68, et seq., and Minn. Stat.

             § 8.31 and, accordingly, members of the Classes seek all relief available

             under that statute.

      153.   Missouri. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Mo. Ann. Stat.

§§ 407.010, et seq., with respect to purchases of Crop Inputs in Missouri by Class

members and/or purchases by Missouri residents.

          a. Plaintiff and the Class purchased Crop Inputs for personal, family, or

             household purposes.

          b. Defendants engaged in the conduct described herein in connection with the

             sale of Crop Inputs in trade or commerce in a market that includes

             Missouri.




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  c. Defendants agreed to, and did in fact affect, fix, control, and/or maintain, at

     artificial and non-competitive levels, the prices at which Crop Inputs were

     sold, distributed, or obtained in Missouri, which conduct constituted unfair

     practices in that it was unlawful under federal and state law, violated public

     policy, was unethical, oppressive and unscrupulous, and caused substantial

     injury to members of the Classes.

  d. Defendants concealed, suppressed, and omitted to disclose material facts to

     members of the Classes concerning Defendants’ unlawful activities and

     artificially inflated prices for Crop Inputs. The concealed, suppressed, and

     omitted facts would have been important to members of the Classes as they

     related to the cost of Crop Inputs they purchased.

  e. Defendants misrepresented the real cause of price increases and/or the

     absence of price reductions in Crop Inputs by making public statements that

     were not in accord with the facts.

  f. Defendants’ statements and conduct concerning the price of Crop Inputs

     were deceptive as they had the tendency or capacity to mislead members of

     the Classes to believe that they were purchasing Crop Inputs at prices

     established by a free and fair market.

  g. Defendants’ unlawful conduct had the following effects: (1) Crop Inputs

     price competition was restrained, suppressed, and eliminated throughout

     Missouri; (2) Crop Inputs prices were raised, fixed, maintained, and

     stabilized at artificially high levels throughout Missouri; (3) members of the


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             Classes were deprived of free and open competition; and (4) members of

             the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

          h. The foregoing acts and practices constituted unlawful practices in violation

             of Mo. Ann. Stat. §§ 407.010, et seq.

          i. As a direct and proximate result of the above-described unlawful practices,

             members of the Classes suffered ascertainable loss of money or property.

          j. Accordingly, members of the Classes seek all relief available under Mo.

             Ann. Stat. § 407.020, which prohibits “the act, use or employment by any

             person    of   any   deception,    fraud,   false   pretense,   false   promise,

             misrepresentation, unfair practice or the concealment, suppression, or

             omission of any material fact in connection with the sale or advertisement

             of any merchandise in trade or commerce…,” as further interpreted by Mo.

             Code Regs. Ann. tit. 15, §§ 60-7.010, et seq., Mo. Code Regs. Ann. tit. 15,

             §§ 60-8.010, et seq., and Mo. Code Regs. Ann. tit. 15, §§ 60-9.010, et seq.,

             and Mo. Ann. Stat. § 407.025, which provides for the relief sought in this

             count.

      154.   Montana. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Mont. Code §§

30-14-101, et seq. with respect to purchases of Crop Inputs in Montana by Class

members and/or purchases by Montana residents.




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          a. Defendants’ unlawful conduct had the following effects: (1) Crop Inputs

             price competition was restrained, suppressed, and eliminated throughout

             Montana; (2) Crop Inputs prices were raised, fixed, maintained, and

             stabilized at artificially high levels throughout Montana; (3) members of the

             Classes were deprived of free and open competition; and (4) members of

             the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

          b. During the Class Period, Defendants’ illegal conduct substantially affected

             Montana commerce and consumers.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured and are threatened with further injury.

          d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of Mont. Code, §§ 30-14-101, et seq., and,

             accordingly, members of the Classes seek all relief available under that

             statute.

      155.   Nebraska. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Neb. Rev. Stat.

Ann. §§ 59-1601, et seq, with respect to purchases of Crop Inputs in Nebraska by Class

members and/or purchases by Nebraska residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Nebraska; (2) Crop Inputs prices were raised, fixed, maintained,


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             and stabilized at artificially high levels throughout Nebraska; (3) members

             of the Classes were deprived of free and open competition; and (4)

             members of the Classes paid supracompetitive, artificially inflated prices

             for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on Nebraska commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of Neb. Rev. Stat. Ann. §§ 59-1601, et seq. and,

             accordingly, members of the Classes seek all relief available under that

             statute.

      156.   Nevada. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Nev. Rev. Stat.

Ann. §§ 598.0903, et seq. with respect to purchases of Crop Inputs in Nevada by Class

members and/or purchases by Nevada residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Nevada; (2) Crop Inputs prices were raised, fixed, maintained,

             and stabilized at artificially high levels throughout Nevada; (3) members of

             the Classes were deprived of free and open competition; and (4) members


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             of the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on Nevada commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of Nev. Rev. Stat. Ann. §§ 598.0903, et seq. and,

             accordingly, members of the Classes seek all relief available under that

             statute.

      157.   New Hampshire. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of N.H. Rev. Stat.

Ann. §§ 358-A:1, et seq. with respect to purchases of Crop Inputs in New Hampshire by

Class members and/or purchases by New Hampshire residents.

          a. Defendants willingly and knowingly agreed to, and did in fact, act in

             restraint of trade or commerce by affecting, fixing, controlling, and/or

             maintaining at non-competitive and artificially inflated levels, the prices at

             which Crop Inputs were sold, distributed or obtained in New Hampshire

             and took efforts to conceal their agreements from members of the Classes.

          b. The aforementioned conduct on the part of Defendants constituted

             “unconscionable trade practices,” in violation of N.H. Rev. Stat. §§ 358-


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     A:1, et seq., in that such conduct, inter alia, resulted in a gross disparity

     between the value received by members of the Classes and the prices paid

     by them for Crop Inputs as set forth in N.H. Rev. Stat. §§ 358-A:1, et seq..

     Members of the Classes were not aware of Defendants’ price-fixing

     conspiracy and were therefore unaware that they were being unfairly and

     illegally overcharged. There was a gross disparity of bargaining power

     between the parties with respect to the price charged by Defendants for

     Crop Inputs. Defendants had the sole power to set that price and members

     of the Classes had no power to negotiate a lower price. Moreover, members

     of the Classes lacked any meaningful choice in purchasing Crop Inputs

     because they were unaware of the unlawful overcharge and there was no

     alternative source of supply through which members of the Classes could

     avoid the overcharges. Defendants’ conduct with regard to sales of Crop

     Inputs, including their illegal conspiracy to secretly fix the price of Crop

     Inputs at supracompetitive levels and overcharge consumers, was

     substantively unconscionable because it was one-sided and unfairly

     benefited Defendants at the expense of members of the Classes. Defendants

     took grossly unfair advantage of members of the Classes. The suppression

     of competition that has resulted from Defendants’ conspiracy has ultimately

     resulted in unconscionably higher prices for consumers so that there was a

     gross disparity between the price paid and the value received for Crop

     Inputs.


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          c. Defendants’ unlawful conduct had the following effects: (1) Crop Inputs

             price competition was restrained, suppressed, and eliminated throughout

             New Hampshire; (2) Crop Inputs prices were raised, fixed, maintained, and

             stabilized at artificially high levels throughout New Hampshire; (3)

             members of the Classes were deprived of free and open competition; and

             (4) members of the Classes paid supracompetitive, artificially inflated

             prices for Crop Inputs.

          d. During the Class Period, Defendants’ illegal conduct substantially affected

             New Hampshire commerce and consumers.

          e. As a direct and proximate result of the unlawful conduct of Defendants,

             members of the Classes have been injured and are threatened with further

             injury.

          f. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of N.H. Rev. Stat. Ann. §§ 358-A:1, et seq., and,

             accordingly, members of the Classes seek all relief available under that

             statute.

      158.   New Mexico. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of N.M. Stat. Ann.

§§ 57-12-1, et seq. with respect to purchases of Crop Inputs in New Mexico by Class

members and/or purchases by New Mexico residents.

          a. Defendants agreed to, and did in fact, act in restraint of trade or commerce

             by affecting, fixing, controlling, and/or maintaining at non-competitive and


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     artificially inflated levels, the prices at which Crop Inputs were sold,

     distributed or obtained in New Mexico and took efforts to conceal their

     agreements from members of the Classes.

  b. The aforementioned conduct on the part of Defendants constituted

     “unconscionable trade practices,” in violation of N.M. Stat. Ann. § 57-12-3,

     in that such conduct, inter alia, resulted in a gross disparity between the

     value received by members of the Classes and the prices paid by them for

     Crop Inputs as set forth in N.M. Stat. Ann. § 57-12-2(E). Members of the

     Classes were not aware of Defendants’ price-fixing conspiracy and were

     therefore unaware that they were being unfairly and illegally overcharged.

     There was a gross disparity of bargaining power between the parties with

     respect to the price charged by Defendants for Crop Inputs. Defendants had

     the sole power to set that price and members of the Classes had no power to

     negotiate a lower price. Moreover, members of the Classes lacked any

     meaningful choice in purchasing Crop Inputs because they were unaware of

     the unlawful overcharge and there was no alternative source of supply

     through which members of the Classes could avoid the overcharges.

     Defendants’ conduct with regard to sales of Crop Inputs, including their

     illegal conspiracy to secretly fix the price of Crop Inputs at

     supracompetitive levels and overcharge consumers, was substantively

     unconscionable because it was one-sided and unfairly benefited Defendants

     at the expense of members of the Classes. Defendants took grossly unfair


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             advantage of members of the Classes. The suppression of competition that

             has resulted from Defendants’ conspiracy has ultimately resulted in

             unconscionably higher prices for consumers so that there was a gross

             disparity between the price paid and the value received for Crop Inputs.

          c. Defendants’ unlawful conduct had the following effects: (1) Crop Inputs

             price competition was restrained, suppressed, and eliminated throughout

             New Mexico; (2) Crop Inputs prices were raised, fixed, maintained, and

             stabilized at artificially high levels throughout New Mexico; (3) members

             of the Classes were deprived of free and open competition; and (4)

             members of the Classes paid supracompetitive, artificially inflated prices

             for Crop Inputs.

          d. During the Class Period, Defendants’ illegal conduct substantially affected

             New Mexico commerce and consumers.

          e. As a direct and proximate result of the unlawful conduct of Defendants,

             members of the Classes have been injured and are threatened with further

             injury.

          f. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of N.M. Stat. Ann. §§ 57-12-1, et seq., and,

             accordingly, members of the Classes seek all relief available under that

             statute.

      159.   New York. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of N.Y. Gen. Bus.


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Law §§ 349, et seq. with respect to purchases of Crop Inputs in New York by Class

members and/or purchases by New York residents.

         a. Defendants agreed to, and did in fact, act in restraint of trade or commerce

            by affecting, fixing, controlling and/or maintaining, at artificial and non-

            competitive levels, the prices at which Crop Inputs were sold, distributed or

            obtained in New York and took efforts to conceal their agreements from

            members of the Classes.

         b. Defendants made public statements about the prices of Crop Inputs that

            Defendants knew would be seen by New York consumers; such statements

            either omitted material information that rendered the statements that they

            made materially misleading or affirmatively misrepresented the real cause

            of price increases for Crop Inputs; and Defendants alone possessed material

            information that was relevant to consumers but failed to provide the

            information.

         c. Because of Defendants’ unlawful trade practices in the State of New York,

            New York consumer class members who indirectly purchased Crop Inputs

            were misled to believe that they were paying a fair price for Crop Inputs or

            the price increases for Crop Inputs were for valid business reasons; and

            similarly situated consumers were potentially affected by Defendants’

            conspiracy.




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  d. Defendants knew that their unlawful trade practices with respect to pricing

     Crop Inputs would have an impact on New York consumers and not just the

     Defendants’ direct customers.

  e. Defendants knew that their unlawful trade practices with respect to pricing

     Crop Inputs would have a broad impact, causing consumer class members

     who indirectly purchased Crop Inputs to be injured by paying more for

     Crop Inputs than they would have paid in the absence of Defendants’

     unlawful trade acts and practices.

  f. The conduct of the Defendants described herein constitutes consumer-

     oriented deceptive acts or practices within the meaning of N.Y. Gen. Bus.

     Law § 349, which resulted in consumer injury and broad adverse impact on

     the public at large, and harmed the public interest of New York State in an

     honest marketplace in which economic activity is conducted in a

     competitive manner.

  g. Defendants’ unlawful conduct had the following effects: (1) Crop Inputs

     price competition was restrained, suppressed, and eliminated throughout

     New York; (2) Crop Inputs prices were raised, fixed, maintained, and

     stabilized at artificially high levels throughout New York; (3) members of

     the Classes were deprived of free and open competition; and (4) members

     of the Classes paid supracompetitive, artificially inflated prices for Crop

     Inputs.




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          h. During the Class Period, Defendants’ marketed, sold, or distributed Crop

             Inputs in New York, and Defendants’ illegal conduct substantially affected

             New York commerce and consumers.

          i. During the Class Period, each of the Defendants named herein, directly, or

             indirectly and through affiliates they dominated and controlled,

             manufactured, sold and/or distributed Crop Inputs in New York.

          j. Members of the Classes seek all relief available pursuant to N.Y. Gen. Bus.

             Law § 349(h).

      160.   North Carolina. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of N.C. Gen. Stat.

§§ 75-1.1, et seq. with respect to purchases of Crop Inputs in North Carolina by Class

members and/or purchases by North Carolina residents.

          a. Defendants agreed to, and did in fact, act in restraint of trade or commerce

             by affecting, fixing, controlling and/or maintaining, at artificial and non-

             competitive levels, the prices at which Crop Inputs were sold, distributed or

             obtained in North Carolina and took efforts to conceal their agreements

             from members of the Classes.

          b. Defendants’ price-fixing conspiracy could not have succeeded absent

             deceptive conduct by Defendants to cover up their illegal acts. Secrecy was

             integral to the formation, implementation, and maintenance of Defendants’

             price-fixing conspiracy. Defendants committed inherently deceptive and

             self-concealing actions, of which members of the Classes could not


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     possibly have been aware. Defendants publicly provided pre-textual and

     false justifications regarding their price increases. Defendants’ public

     statements concerning the price of Crop Inputs created the illusion of

     competitive    pricing   controlled   by    market    forces   rather    than

     supracompetitive pricing driven by Defendants’ illegal conspiracy.

     Moreover, Defendants deceptively concealed their unlawful activities by

     mutually agreeing not to divulge the existence of the conspiracy to

     outsiders, conducting meetings and conversations in secret, and avoiding

     the creation of documents which would reveal the antitrust violations.

  c. The conduct of the Defendants described herein constitutes consumer-

     oriented deceptive acts or practices within the meaning of North Carolina

     law, which resulted in consumer injury and broad adverse impact on the

     public at large, and harmed the public interest of North Carolina consumers

     in an honest marketplace in which economic activity is conducted in a

     competitive manner.

  d. Defendants’ unlawful conduct had the following effects: (1) Crop Inputs

     price competition was restrained, suppressed, and eliminated throughout

     North Carolina; (2) Crop Inputs prices were raised, fixed, maintained, and

     stabilized at artificially high levels throughout North Carolina; (3) members

     of the Classes were deprived of free and open competition; and (4)

     members of the Classes paid supracompetitive, artificially inflated prices

     for Crop Inputs.


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          e. During the Class Period, Defendants’ marketed, sold, or distributed Crop

              Inputs in North Carolina, and Defendants’ illegal conduct substantially

              affected North Carolina commerce and consumers.

          f. During the Class Period, each of the Defendants named herein, directly, or

              indirectly and through affiliates they dominated and controlled,

              manufactured, sold and/or distributed Crop Inputs in North Carolina.

          g. Members of the Classes seek actual damages for their injuries caused by

              these violations in an amount to be determined at trial and are threatened

              with further injury. Defendants have engaged in unfair competition or

              unfair or deceptive acts or practices in violation of N.C. Gen. Stat. §§ 75-

              1.1, et seq., and, accordingly, members of the Classes seek all relief

              available under that statute.

       161.   Oregon. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Or. Rev. Stat. §§

646.605, et seq. with respect to purchases of Crop Inputs in Oregon by Class members

and/or purchases by Oregon residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

              Inputs price competition was restrained, suppressed, and eliminated

              throughout Oregon; (2) Crop Inputs prices were raised, fixed, maintained,

              and stabilized at artificially high levels throughout Oregon; (3) members of

              the Classes were deprived of free and open competition; and (4) members




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             of the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on Oregon commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of Or. Rev. Stat. §§ 646.605, et seq., and,

             accordingly, members of the Classes seek all relief available under that

             statute.

      162.   Rhode Island. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of 6 R.I. Gen.

Laws Ann. §§ 6-13.1-1, et seq. with respect to purchases of Crop Inputs in Rhode Island

by Class members and/or purchases by Rhode Island residents.

          a. Members of this Class purchased Crop Inputs for personal, family, or

             household purposes.

          b. Defendants agreed to, and did in fact, act in restraint of trade or commerce

             in a market that includes Rhode Island, by affecting, fixing, controlling,

             and/or maintaining, at artificial and non-competitive levels, the prices at

             which Crop Inputs were sold, distributed, or obtained in Rhode Island.




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  c. Defendants deliberately failed to disclose material facts to members of the

     Classes concerning Defendants’ unlawful activities and artificially inflated

     prices for Crop Inputs. Defendants owed a duty to disclose such facts, and

     considering the relative lack of sophistication of the average, non-business

     consumer, Defendants breached that duty by their silence. Defendants

     misrepresented to all consumers during the Class Period that Defendants’

     Crop Inputs prices were competitive and fair.

  d. Defendants’ unlawful conduct had the following effects: (1) Crop Inputs

     price competition was restrained, suppressed, and eliminated throughout

     Rhode Island; (2) Crop Inputs prices were raised, fixed, maintained, and

     stabilized at artificially high levels throughout Rhode Island; (3) members

     of the Classes were deprived of free and open competition; and (4)

     members of the Classes paid supracompetitive, artificially inflated prices

     for Crop Inputs.

  e. As a direct and proximate result of the Defendants’ violations of law,

     members of the Classes suffered an ascertainable loss of money or property

     as a result of Defendants’ use or employment of unconscionable and

     deceptive commercial practices as set forth above. That loss was caused by

     Defendants’ willful and deceptive conduct, as described herein.

  f. Defendants’ deception, including their affirmative misrepresentations and

     omissions concerning the price of Crop Inputs, likely misled all consumers

     acting reasonably under the circumstances to believe that they were


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             purchasing Crop Inputs at prices set by a free and fair market. Defendants’

             affirmative misrepresentations and omissions constitute information

             important to members of the Classes as they related to the cost of Crop

             Inputs they purchased.

          g. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of 6 Rhode Island Gen. Laws. Ann. § 6-13.1-1, et

             seq., and, accordingly, members of the Classes seek all relief available

             under that statute.

      163.   South Carolina. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of S.C. Code Ann.

§§ 39-5-10, et seq. with respect to purchases of Crop Inputs in South Carolina by Class

members and/or purchases by South Carolina residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout South Carolina; (2) Crop Inputs prices were raised, fixed,

             maintained, and stabilized at artificially high levels throughout South

             Carolina; (3) members of the Classes were deprived of free and open

             competition; and (4) members of the Classes paid supracompetitive,

             artificially inflated prices for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on South Carolina commerce.




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          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of S.C. Code Ann. §§ 39-5-10, et seq., and,

             accordingly, members of the Classes seek all relief available under that

             statute.

      164.   South Dakota. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of S.D. Codified

Laws § 37-24-6 with respect to purchases of Crop Inputs in South Dakota by Class

members and/or purchases by South Dakota residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout South Dakota; (2) Crop Inputs prices were raised, fixed,

             maintained, and stabilized at artificially high levels throughout South

             Dakota; (3) members of the Classes were deprived of free and open

             competition; and (4) members of the Classes paid supracompetitive,

             artificially inflated prices for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on South Dakota commerce.




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         c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

         d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of S.D. Codified Laws § 37-24-6, and, accordingly,

             members of the Classes seek all relief available under that statute.

      165.   Tennessee. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Tenn. Code

Ann. §§ 47-18-101, et seq. with respect to purchases of Crop Inputs in Tennessee by

Class members and/or purchases by Tennessee residents.

         a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Tennessee; (2) Crop Inputs prices were raised, fixed,

             maintained, and stabilized at artificially high levels throughout Tennessee;

             (3) members of the Classes were deprived of free and open competition;

             and (4) members of the Classes paid supracompetitive, artificially inflated

             prices for Crop Inputs.

         b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on Tennessee commerce.

         c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.


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          d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of Tenn. Code Ann. §§ 47-18-101, et seq, and,

             accordingly, members of the Classes seek all relief available under that

             statute.

      166.   Utah. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Utah Code Ann.

§§ 13-11-1, et seq. with respect to purchases of Crop Inputs in Utah by Class members

and/or purchases by Utah residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Utah; (2) Crop Inputs prices were raised, fixed, maintained, and

             stabilized at artificially high levels throughout Utah; (3) members of the

             Classes were deprived of free and open competition; and (4) members of

             the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on Utah commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of Utah Code Ann. §§ 13-11-1, et seq., and,


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             accordingly, members of the Classes seek all relief available under that

             statute.

      167.   Virginia. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Va. Code Ann.

§§ 59.1-196, et seq. with respect to purchases of Crop Inputs in Virginia by Class

members and/or purchases by Virginia residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout Virginia; (2) Crop Inputs prices were raised, fixed, maintained,

             and stabilized at artificially high levels throughout Virginia; (3) members of

             the Classes were deprived of free and open competition; and (4) members

             of the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

             effect on Virginia commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

             of the Classes have been injured in their business and property and are

             threatened with further injury.

          d. Defendants have engaged in unfair competition or unfair or deceptive acts

             or practices in violation of Va. Code Ann. §§ 59.1-196, et seq, and,

             accordingly, members of the Classes seek all relief available under that

             statute.


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      168.   Vermont. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Vt. Stat. Ann.

tit. 9, §§ 2453, et seq. with respect to purchases of Crop Inputs in Vermont by Class

members and/or purchases by Vermont residents.

          a. Defendants agreed to, and did in fact, act in restraint of trade or commerce

             in a market that includes Vermont by affecting, fixing, controlling, and/or

             maintaining, at artificial and non-competitive levels, the prices at which

             Crop Inputs were sold, distributed, or obtained in Vermont.

          b. Defendants deliberately failed to disclose material facts to members of the

             Classes concerning their unlawful activities and artificially inflated prices

             for Crop Inputs. Defendants owed a duty to disclose such facts, and

             considering the relative lack of sophistication of the average, non-business

             purchaser, Defendants breached that duty by their silence. Defendants

             misrepresented to all purchasers during the Class Period that their Crop

             Inputs prices were competitive and fair.

          c. Defendants’ unlawful conduct had the following effects: (1) Crop Inputs

             price competition was restrained, suppressed, and eliminated throughout

             Vermont; (2) Crop Inputs prices were raised, fixed, maintained, and

             stabilized at artificially high levels throughout Vermont; (3) members of the

             Classes were deprived of free and open competition; and (4) members of

             the Classes paid supracompetitive, artificially inflated prices for Crop

             Inputs.


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          d. As a direct and proximate result of Defendants’ violations of law, members

             of the Classes suffered an ascertainable loss of money or property as a

             result of Defendants’ use or employment of unconscionable and deceptive

             commercial practices as set forth above. That loss was caused by the

             Defendants’ willful and deceptive conduct, as described herein.

          e. Defendants’ deception, including their omissions concerning the price of

             Crop Inputs, likely misled all purchasers acting reasonably under the

             circumstances to believe that they were purchasing Crop Inputs at prices

             born by a free and fair market. Defendants’ misleading conduct and

             unconscionable activities constitutes unfair competition or unfair or

             deceptive acts or practices in violation of Vt. Stat. Ann. tit. 9, §§ 2451, et

             seq., and, accordingly, members of the Classes seek all relief available

             under that statute.

      169.   West Virginia. Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of W. Va. Code §§

46A-6-101, et seq. with respect to purchases of Crop Inputs in West Virginia by Class

members and/or purchases by West Virginia residents.

          a. Defendants’ combination or conspiracy had the following effects: (1) Crop

             Inputs price competition was restrained, suppressed, and eliminated

             throughout West Virginia; (2) Crop Inputs prices were raised, fixed,

             maintained, and stabilized at artificially high levels throughout West

             Virginia; (3) members of the Classes were deprived of free and open


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              competition; and (4) members of the Classes paid supracompetitive,

              artificially inflated prices for Crop Inputs.

          b. During the Class Period, Defendants’ illegal conduct had a substantial

              effect on West Virginia commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct, members

              of the Classes have been injured in their business and property and are

              threatened with further injury.

          d. Defendants have engaged in unfair competition or unfair or deceptive acts

              or practices in violation of W. Va. Code §§ 46A-6-101, et seq. and,

              accordingly, members of the Classes seek all relief available under that

              statute.

       170.   Plaintiff and members of the Classes have been injured in their business

and property by reason of Defendants’ anticompetitive, unfair, unconscionable, and/or

deceptive conduct. Their injury consists of paying higher prices for Crop Inputs than they

would have paid in the absence of these violations. This injury is of the type the state

consumer protection statutes were designed to prevent and directly results from

Defendants’ unlawful conduct.

       171.   On behalf of itself and the Classes, Plaintiff seeks all appropriate relief

provided for under the foregoing statutes.




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                             FOURTH CLAIM FOR RELIEF
                                 Unjust Enrichment

          172.   Plaintiff incorporates and realleges each and every allegation in the

preceding paragraphs, as though fully set forth herein.

          173.   As a result of their unlawful conduct described above, Defendants have and

will continue to be unjustly enriched. Defendants have been unjustly enriched by the

receipt of, at a minimum, unlawfully inflated prices and unlawful profits on sales of Crop

Inputs.

          174.   Defendants have benefited from their unlawful acts and it would be

inequitable under unjust enrichment principles under the laws of each state in the United

States for Defendants to be permitted to retain any of the ill-gotten gains resulting from

the overpayments made by Plaintiff or the Class members for Crop Inputs.

          175.   As a direct and proximate result of Defendants’ conduct described above,

Defendants have and will continue to be unjustly enriched by the receipt of unlawfully

inflated prices and unlawful profits from Defendants’ sales of Crop Inputs.


                                  PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, on behalf of itself and the Classes of all others so

similarly situated, respectfully requests judgment against Defendants as follows:

          1.     That the Court determines that this action may be maintained as a class

action under Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure,

appoint Plaintiff as a Class Representative and its counsel of record as Class Counsel, and




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direct that notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil

Procedure, be given to the Class, once certified;

       2.      That the unlawful conduct, conspiracy or combination alleged herein be

adjudged and decreed:

            a. An unreasonable restraint of trade or commerce in violation of Section 1 of

               the Sherman Act, 15 U.S.C. § 1;

            b. A per se violation of Section 1 of the Sherman Act, 15 U.S.C. § 1;

            c. An unlawful combination, trust, agreement, understanding, and/or concert

               of action in violation of the state antitrust and unfair competition and

               consumer protection laws as set forth herein; and

            d. Acts of unjust enrichment by Defendants as set forth herein.

       3.      That Plaintiff and the Classes recover damages, to the maximum extent

allowed under the applicable state laws, and that a joint and several judgments in favor of

Plaintiff and the members of the Classes be entered against Defendants in an amount to

be trebled to the extent such laws permit;

       4.      Defendants, their affiliates, successors, transferees, assignees and other

officers, directors, partners, agents and employees thereof, and all other persons acting or

claiming to act on their behalf or in concert with them, be permanently enjoined and

restrained from in any manner continuing, maintaining or renewing the conduct,

conspiracy, or combination alleged herein, or from entering into any other conspiracy or

combination having a similar purpose or effect, and from adopting or following any

practice, plan, program, or device having a similar purpose or effect;


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       5.     Defendants, their affiliates, successors, transferees, assignees and other

officers, directors, partners, agents and employees thereof, and all other persons acting or

claiming to act on their behalf or in concert with them, be permanently enjoined and

restrained from in any manner continuing, maintaining, or renewing the sharing of highly

sensitive competitive information that permits identification of company’s information;

       6.     Plaintiff and the members of the Classes be awarded pre-and post-

judgment interest as provided by law, and that such interest be awarded at the highest

legal rate from and after the date of service of the Complaint;

       7.     Plaintiff and the Class members recover their costs of suit, including

reasonable attorneys’ fees, as provided by law; and

       8.     Plaintiff and the Class members have such other and further relief as the

case may require and the Court deem just and proper.

                                 JURY TRIAL DEMAND

       Plaintiff demands a trial by jury, pursuant to Rule 38(b) of the Federal Rules of

Civil Procedure, on all issues so triable.

Dated: March 4, 2021                         Respectfully submitted,

                                             __/s/Patrick Howard_____________________
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